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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF NEW YORK


   YELENA RUDERMAN,                                        Civil Action No.: 19-cv-02987-RJD-RLM

                         Plaintiff,

                  v.

   LAW OFFICE OF YURIY PRAKHIN, P.C., and
   YURIY PRAKHIN, ESQ., in both his individual
   and professional capacities,

                         Defendants.


                                      JOINT PRETRIAL ORDER

          Plaintiff Yelena Ruderman (“Plaintiff”) and Defendants Law Office of Yuriy Prakhin, P.C.

   (the “Firm”) and Yuriy Prakhin, Esq. (“Prakhin”) (together, “Defendants”), hereinafter referenced

   collectively as the “Parties” and each individually as a “Party,” hereby submit the following joint

   pretrial order (“JPTO”) in accordance with Section IV(A) of the Court’s Individual Motion

   Practices and the Court’s January 25, 2022, March 31, 2022, May 2, 2022, and May 13, 2022

   Orders. See ECF Nos. 107-109, 111.




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   I.     The full caption of the action.

           Yelena Ruderman v. Law Offices of Yuriy Prakhin, P.C. and Yuriy Prakhin, in both his
   individual and professional capacities, No. 1:19-cv-02987(RJD)(RLM) (E.D.N.Y. 2019).

   II.    The names, addresses (including firm names), and telephone and fax numbers of trial
          counsel.

          Plaintiff is represented by:

                  Innessa M. Huot
                  Alex J. Hartzband
                  Camilo M. Burr
                  FARUQI & FARUQI, LLP
                  685 Third Avenue, 26th Floor
                  New York, New York 10017
                  Tel: 212-983-9330
                  Fax: 212-983-9331
                  ihuot@faruqilaw.com
                  ahartzband@faruqilaw.com
                  cburr@faruqilaw.com

          Defendants are represented by:

                  Mary Ellen Donnelly
                  Louis DiLorenzo
                  Nicole E. Price
                  BOND SCHOENECK & KING, PLLC
                  600 Third Avenue, 22nd Floor
                  New York, New York 10016
                  Tel: 646-253-2300
                  Fax: 646-253-2301
                  mdonnelly@bsk.com
                  dilorel@bsk.com
                  nprice@bsk.com

   III.   A brief statement by plaintiff as to the basis for subject matter jurisdiction, and a
          brief statement by each other party as to the presence or absence of subject matter
          jurisdiction.

          A.      Plaintiff’s Statement

           This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343, as this
   action involves federal questions regarding the deprivation of Plaintiff’s civil rights under the
   Americans with Disabilities Act, as amended, 42 U.S.C. §§ 12101, et seq. (the “ADA”). This
   Court has supplemental jurisdiction over Plaintiff’s claims under the New York State Human


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   Rights Law, N.Y. Exec. Law §§ 290, et seq. (“NYSHRL”) and New York City Human Rights
   Law, N.Y.C. Admin. Code §§ 8-101, et seq. (“NYCHRL”) pursuant to 28 U.S.C. § 1367, as
   Plaintiff’s NYSHRL and NYCHRL claims are so related to her ADA claim that they form part of
   the same case or controversy.

          B.     Defendants’ Statement

           Defendants do not dispute the presence of subject matter jurisdiction with respect to
   Plaintiff’s claims asserted under the ADA, and supplemental jurisdiction over claims asserted
   pursuant to NYSHRL and NYCHRL.

   IV.    A brief summary by each party of the claims and defenses that party has asserted
          which remain to be tried, without recital of evidentiary matter but including citations
          to all statutes relied upon. Such summaries shall also identify all claims and defenses
          previously asserted which are not to be tried.

          A.     Plaintiff’s Summary

           Plaintiff’s claims under the ADA, 42 U.S.C. § 12112(b)(4), NYSHRL, N.Y. Exec. Law §
   296(1)(a), and NYCHRL, N.Y.C. Admin Code §§ 8-107(1)(a), (20) for discrimination on the basis
   of her disabilities, including Leber’s Hereditary Optic Neuropathy (“LHON”), which has caused
   the loss of her vision. Plaintiff disputes each of Defendants’ stated defenses, none of which has
   merit.

          B.     Defendants’ Summary

                 1. Plaintiff’s claims of disability discrimination under Americans with Disabilities
                    Act (“ADA”), 42 U.S.C. §§ 12101, et seq., New York State Human Rights Law
                    (“NYSHRL”), N.Y. Exec. Law §§ 290, et seq., and New York City Human
                    Rights Law (“NYCHRL”), N.Y.C. Admin. Code §§ 8-101, et seq. are without
                    merit. Plaintiff has not and cannot demonstrate with sufficient evidence that
                    she is disabled under the law. At no time during her employment did Plaintiff
                    provide Defendants with sufficient notice of her disability. Plaintiff failed to
                    provide Defendants with any medical documentation regarding her condition,
                    as required by law and by the Firm’s Employee Handbook. Plaintiff
                    specifically advised Defendants that she was not disabled. Assuming,
                    arguendo, that Plaintiff is disabled under the law, she is not otherwise qualified
                    since she was unable to perform the essential functions of her position as an
                    Associate at the Firm, with or without reasonable accommodation.
                    Additionally, no inference of discrimination arises from Defendants’
                    termination of Plaintiff’s employment.

                 2. Plaintiff’s claims of disability discrimination also fail because all actions taken
                    by Defendants regarding Plaintiff’s employment were for legitimate, non-

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                 discriminatory reasons unrelated to Plaintiff’s disability and/or other protected
                 classifications. Such reasons include, but are not limited to, unsatisfactory job
                 performance and complaints about Plaintiff from dissatisfied clients.

              3. Plaintiff’s claims of disability discrimination further fail because Plaintiff
                 cannot establish that Defendants’ legitimate, non-discriminatory reasons for
                 terminating Plaintiff’s employment were pretextual as the evidence
                 demonstrates that Plaintiff failed to perform the essential functions of her
                 position, with or without accommodation.

              4. Plaintiff’s claims of failure to accommodate under the ADA, NYSHRL, and
                 NYCHRL are similarly without merit since Defendants provided Plaintiff with
                 reasonable accommodations during her employment. Further, Plaintiff did not
                 submit any requests for any accommodation in writing as required by the
                 Employee Handbook.           Assuming, arguendo, that Plaintiff requested
                 accommodations verbally as she alleges, her requested accommodations were
                 unreasonable, not effective, and/or would have imposed an undue hardship on
                 Defendants. Plaintiff’s claims also fail because Plaintiff refused reasonable
                 accommodation(s) offered by Defendants, such as a temporary leave of
                 absence.

              5. Plaintiff is estopped and barred by her own conduct from requesting the relief
                 set forth in the Complaint because Plaintiff failed to provide Defendants with
                 adequate information about her disability, denied that she was disabled, failed
                 to provide Defendants with adequate information about effective
                 accommodations, and failed to request reimbursement and provide receipts for
                 accommodations she purchased. Plaintiff also failed to take advantage of
                 reasonable accommodation(s) offered by Defendants, including a leave of
                 absence.

              6. Plaintiff’s continued employment with Defendants would cause a significant
                 risk of substantial harm to the health and/or safety of Plaintiff and others, which
                 could not be eliminated or reduced by a reasonable accommodation.

              7. Plaintiff is also not entitled to recover damages. Without conceding that
                 Plaintiff has suffered any damages as a result of any alleged wrongdoing by
                 Defendants, Plaintiff has failed to mitigate or minimize her alleged damages.
                 Moreover, Plaintiff cannot establish that she is entitled to punitive damages.
                 Defendants acted reasonably and in good faith towards Plaintiff regarding all
                 aspects of her employment and termination.



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          Defenses Previously Asserted by Defendants Which are Not to be Tried:

                  1. Plaintiff’s claims, in whole or in part, are barred by the applicable statue or
                     statutes of limitations.

                  2. Plaintiff’s claims, in whole or in part, are barred by the statute of limitations,
                     laches, res judicata, collateral estoppel, settlement and release, or accord and
                     satisfaction.

                  3. Plaintiff’s claims are barred by her failure to invoke or exhaust available
                     complaint, investigation, dispute resolution, arbitration, appeal, protest, or
                     administrative procedures, avenues, remedies and/or prerequisites to suit.

                  4. Plaintiff’s claims are barred, in whole or in part, to the extent that they exceed
                     the scope of or are inconsistent with the Charge of Discrimination Plaintiff filed
                     with the EEOC.

   V.     A statement by each party as to whether the case is to be tried with a jury, and the
          number of trial days needed.

            The Parties agree that this case is to be tried with a jury and anticipate that the length of
   the trial will be approximately five to seven days.

   VI.    A statement as to whether all parties have consented to trial of the case by a
          Magistrate Judge (without identifying which parties have or have not so consented).

          The Parties do not consent to trial of this case by a Magistrate Judge.

   VII.   Any stipulations or statements of fact or law which have been agreed upon by all
          parties.

          (1)     The Firm is a plaintiff-side personal injury and medical malpractice law firm
                  located at 1883 86th Street, 2nd Floor, Brooklyn, New York 11214.

          (2)     Prakhin is the founder and President of the Firm.

          (3)     Defendants employ at least 15 people at the Firm, and employed at least as many
                  people throughout Plaintiff’s employment at the Firm.

          (4)     Irene Raskin (“Raskin”) commenced employment with the Firm in 2015 as the
                  Office Manager.

          (5)     SAGA is a case management database system that was used by the Firm in 2018.



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          (6)    In September 2012, Plaintiff was hired by the Firm as a paralegal.

          (7)    In November 2012, after being admitted to the New York State Bar, Plaintiff began
                 working for the Firm as an Associate.

          (8)    In February 2017, Plaintiff voluntarily resigned from her employment with the Firm
                 to pursue an Associate position at Mallilo & Grossman, another plaintiff-side
                 personal injury law firm.

          (9)    At the time of her departure from the Firm in February 2017, Plaintiff was paid a
                 salary of $75,000, and did not have any paralegals assigned to work exclusively
                 with her.

          (10)   In 2018, Prakhin offered Plaintiff an Associate position at the Firm with an
                 increased salary of $100,000.

          (11)   Plaintiff commenced her second period of employment with the Firm on June 18,
                 2018.

          (12)   Irene Gabo (“Gabo”) was the Firm’s Managing Attorney during Plaintiff’s second
                 period of employment until October 1, 2018.

          (13)   Gabo resigned from the Firm to commence her own law practice effective October
                 1, 2018.

          (14)   Patricia Belous (“Belous”) was hired as a paralegal by the Firm in August 2018.

          (15)   Belous was assigned to work with Plaintiff.

          (16)   Erica Larssen (“Larssen”) was hired as a paralegal by the Firm in September 2018.

          (17)   Prakhin terminated Plaintiff’s employment with the Firm on December 14, 2018.

   VIII. A statement by each party as to the witnesses whose testimony is to be offered in its
         case-in-chief, with a brief narrative statement of the expected testimony.

          A.     Plaintiff’s Statement

          Plaintiff intends to offer the testimony of the following witnesses in her case-in-chief:

          (1)    Plaintiff: Plaintiff will testify about, inter alia, her hiring by and employment with
                 Defendants, her job responsibilities, compensation, and performance, the Firm’s
                 policies and culture, her disability, her disclosures concerning the same, reasonable
                 accommodations provided or denied to her, the termination of her employment, and
                 her damages.



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          (2)     Prakhin: Prakhin is expected to testify about, inter alia, Plaintiff’s hiring by and
                  employment with Defendants, Plaintiff’s job responsibilities, compensation, and
                  performance, the Firm’s policies and culture, Plaintiff’s disability, Plaintiff’s
                  disclosures concerning the same, reasonable accommodations provided or denied
                  to Plaintiff, the termination of Plaintiff’s employment, and Defendants’ finances.

          (3)     Gabo: Gabo is expected to testify about, inter alia, Plaintiff’s hiring by and
                  employment with Defendants, Plaintiff’s job responsibilities, compensation, and
                  performance, the Firm’s policies and culture, Plaintiff’s disability, Plaintiff’s
                  disclosures concerning the same, reasonable accommodations provided or denied
                  to Plaintiff, and the termination of Plaintiff’s employment.

          (4)     Raskin: Raskin is expected to testify about, inter alia, Plaintiff’s hiring by and
                  employment with Defendants, Plaintiff’s job responsibilities, compensation, and
                  performance, the Firm’s policies and culture, Plaintiff’s disability, Plaintiff’s
                  disclosures concerning the same, reasonable accommodations provided or denied
                  to Plaintiff, the termination of Plaintiff’s employment, and Defendants’ finances.

          (5)     Larssen: Larssen is expected to testify about, inter alia, Plaintiff’s employment with
                  Defendants, Plaintiff’s job responsibilities and performance, the Firm’s policies
                  and culture, Plaintiff’s disability, Plaintiff’s disclosures concerning the same, and
                  reasonable accommodations provided or denied to Plaintiff.

          (6)     Belous: Belous is expected to testify about, inter alia, Plaintiff’s employment with
                  Defendants, Plaintiff’s job responsibilities and performance, the Firm’s policies
                  and culture, Plaintiff’s disability, Plaintiff’s disclosures concerning the same, and
                  reasonable accommodations provided or denied to Plaintiff.

          (7)     Alexander Pusachev: Pusachev is expected to testify about, inter alia, Defendants’
                  IT practices and procedures, the Firm’s policies and culture, Plaintiff’s disability,
                  Plaintiff’s disclosures concerning the same, reasonable accommodations provided
                  or denied to Plaintiff, and Defendants’ retention, archiving, storage, and/or
                  destruction of documents.

          (8)     Any witness(es) Defendants list in this JPTO or any amendment thereto; and

          (9)     Any witness(es) Defendants otherwise call to testify at trial.

            Plaintiff believes that each of these witnesses will testify in person. Plaintiff reserves the
   right to call any witness listed by Defendants. Plaintiff reserves the right to call unlisted witnesses
   for purposes of impeachment, in rebuttal, or for the authentication and introduction of disputed
   documents. Plaintiff also reserves the right to supplement and/or modify this statement consistent
   with the Federal Rules of Civil Procedure, Local Civil Rules for the Eastern District of New York,
   and/or the Individual Motion Practices of the Honorable Raymond J. Dearie, or as may otherwise
   be necessary or appropriate between now and the date of trial.



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         Plaintiff expressly objects to the introduction of testimony from Natalia Generalova, Azfar
   Khan, Vitaliy Lyutyk, Laura Shavarts, Marina Zhernakova, and the interpreter from Trusteforte
   Language Services by Defendants at trial.

          B.      Defendants’ Statement

          Defendants provide the following list of witnesses to be offered in their case-in-chief
   subject to the following reservation of rights: (i) Defendants reserve the right not to offer the
   testimony of any designated witness; and (ii) Defendants reserve the right to offer live or
   deposition testimony, where authorized by FRCP 32, of any other Party or any witness designated
   by any other party.

           Defendants intend to offer the testimony of the following witnesses in their case-in-chief:

          (1)     Yuriy Prakhin: Mr. Prakhin is a party witness and will testify in person regarding,
                  inter alia, the Firm’s business, the Firm’s policies, the job duties of associates,
                  paralegals, and the managing attorney, compensation, Plaintiff’s employment and
                  job performance, the termination of Plaintiff’s employment, the termination of
                  attorneys’ employment, and claims and defenses to the Complaint.

          (2)     Gil Zohar: Mr. Zohar is a non-party witness and will testify in person regarding,
                  inter alia, the Firm’s business, job duties of associates, paralegals, and the
                  managing attorney, compensation and work performance of the Firm’s employees,
                  and claims and defenses to the Complaint.

          (3)     Irene Raskin: Ms. Raskin is a non-party witness and will testify in person regarding,
                  inter alia, the Firm’s business, the Firm’s policies, leaves of absence, scheduling
                  depositions, Plaintiff’s employment and job performance, and claims and defenses
                  to the Complaint.

          (4)     Erica Larssen: Ms. Larssen is a non-party witness and will testify in person
                  regarding, inter alia, Plaintiff’s employment and job performance, and claims and
                  defenses to the Complaint.

          (5)     Patricia Belous: Ms. Belous is a non-party witness and will testify in person
                  regarding, inter alia, Plaintiff’s employment and job performance, and claims and
                  defenses to the Complaint.

          (6)     Natalia Generalova: Ms. Generalova is a non-party witness and will testify in
                  person regarding, inter alia, her experience as a client of the Firm and Plaintiff’s
                  job performance.

          (7)     Azfar Khan: Mr. Khan is a non-party witness and will testify in person regarding,
                  inter alia, his experience as a client of the Firm and Plaintiff’s job performance.



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          (8)     Vitaliy Lyutyk: Mr. Lyutuk is a non-party witness and will testify in person
                  regarding, inter alia, his experience as a client of the Firm and Plaintiff’s job
                  performance.

          (9)     Laura Shvarts: Ms. Shvarts is a non-party witness and will testify in person
                  regarding, inter alia, her experience as a client of the Firm and Plaintiff’s job
                  performance.

          (10)    Marina Zhernyakova: Ms. Zhernyakova is a non-party witness and will testify in
                  person regarding, inter alia, her experience as a client of the Firm and Plaintiff’s
                  job performance.

          (11)    Alexander Pusachev: Mr. Pusachev is a non-party witness and will testify in person
                  regarding, inter alia, his IT consulting work for the Firm, and the extraction of
                  Instant Messages from the Firm’s computer system.

          (12)    Interpreter from Trusteforte Language Services: This individual is a Russian
                  interpreter and non-party witness and will testify in person to provide translations
                  of recorded conversations in Russian.

          (13)    Dr. Anna Shostak: Dr. Shostak is a non-party witness and will testify in person
                  regarding Plaintiff’s mental health history and mental health conditions prior to
                  the termination of her employment from the Firm in December 2018.

          (14)    Any witness(es) Plaintiff lists in this JPTO or any amendment thereto; and

          (15)    Any witness(es) Plaintiff calls to testify at trial.

                    As this Joint Pre-Trial Order is final except for rebuttal evidence, Defendants object
   to Plaintiff’s statement reserving the right to supplement and/or modify this Joint Pre-Trial Order,
   call unlisted witnesses or introduce disputed documents except to the extent permitted under the
   Federal Rule of Civil Procedure, Federal Rules of Evidence, the Local Rules of the Eastern District
   of New York and/or the Judge’s individual rules. However, if Plaintiff is permitted to reserve
   and/or is granted such rights, Defendants reserve, do not waive, and request the same right to call
   unlisted witnesses for purposes of impeachment, in rebuttal, or for the authentication and
   introduction of disputed documents, as well as to supplement and/or modify this statement
   consistent with the Federal Rules of Civil Procedure, Local Civil Rules for the Eastern District of
   New York, and/or the Individual Motion Practices of the Honorable Raymond J. Dearie, or as may
   otherwise be necessary or appropriate between now and the date of trial.

          Defendants object to Plaintiff’s listed witnesses to the extent that they lack personal
   knowledge regarding the subjects Plaintiff has listed for their expected testimony. Defendants also
   reserve their rights to further object to Plaintiff’s listed witnesses, Plaintiff’s questioning of such
   witnesses, and any testimony by such witnesses.




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         IX.     A designation by each party of deposition testimony to be offered in its case-in-chief,
                 with any cross-designations and objections by any other party.

                 A.       Plaintiff’s Position

                  Plaintiff does not anticipate that any witnesses will be unavailable to testify within the
         meaning of Federal Rules of Civil Procedure 32 and/or 45, and as such, does not anticipate
         designating deposition testimony to be offered in her case-in-chief. Plaintiff reserves the right to
         designate and introduce the deposition testimony of any witness within a reasonable period of time
         after it is determined that such witness is unavailable.

                 In addition to the depositions of the Plaintiff and Prakhin, five non-parties were deposed in
         this action: Gabo, Larssen, Raskin, Belous, and Pusachev. Larssen, Raski, and Belous are
         employees of Defendants. Pusachev is a contractor who works for Defendants regularly, and Gabo
         is the Firm’s former Managing Attorney who still maintains a relationship with the Firm.
         Defendants produced Larssen, Raskin, Belous, and Pusachev for their depositions. As such,
         Plaintiff expects that Defendants will produce Larssen, Raskin, Belous, and Pusachev for
         testimony at trial, and expects that Gabo will appear willingly in response to a trial subpoena. In
         the event Defendants refuse to produce Larseen, Raskin, Belous, and/or Pusachev, and Gabo is
         unwilling to appear voluntarily, for trial and the witnesses are otherwise unavailable to testify
         within the meaning of Federal Rules of Civil Procedure 32 and/or 45, Plaintiff reserves the right
         to designate and introduce Gabo’s Larssen’s, Raskin’s, Belous’s, and/or Pusachev’s deposition
         testimony at trial.

                 Because Plaintiff will be produced at trial and Defendants have not notified Plaintiff that
         Prakhin, Raskin, Belous, and/or Larssen will not be produced or are otherwise unavailable to
         testify within the meaning of Federal Rules of Civil Procedure 32 and/or 45, Plaintiff objects to
         Defendants’ designation of deposition testimony for Plaintiff, Prakhin, Raskin, Belous, and
         Larssen.

                 B.       Defendants’ Position

                At this time, Defendants intend to present testimony through live witnesses. Defendants
         may introduce the following deposition excerpts:

    Defendants’ Designation            Cross-Designation(s) by Plaintiff             Objection(s) by Plaintiff
Plaintiff - 25:2-10                   25:12-26:12; 111:7-114:15              Foundation; Fed. R. Evid. 403
Plaintiff - 27:10-28:13               19:7-21:16; 29:6-14                    Foundation; Fed. R. Evid. 403
Plaintiff - 30:22-32:10               19:7-21:16; 29:6-14                    Foundation; Fed. R. Evid. 403
Plaintiff - 33:6-38:6                 19:7-21:16; 29:6-14; 38:7-15           Foundation; Fed. R. Evid. 403
Plaintiff - 41:10-14                  N/A                                    Relevance; Hearsay; Foundation; Fed. R.
                                                                             Evid. 403
Plaintiff - 46:20-47:15               N/A                                    Relevance; Hearsay; Foundation; Lack
                                                                             of Personal Knowledge; Improper


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                                                                   Opinions and Conclusions; Improper
                                                                   Character Evidence; Fed. R. Evid. 403
Plaintiff - 48:23-50:22       47:20-48:22; 50:23-70:24; 208:2-8;   Relevance; Hearsay; Foundation; Fed. R.
                              209:25-210:9; 226:7-227:20           Evid. 403
Plaintiff - 53:7-8            47:20-48:22; 50:23-70:24             Relevance; Hearsay; Foundation; Fed. R.
                                                                   Evid. 403
Plaintiff - 53:25-21          47:20-48:22; 50:23-70:24             Hearsay; Foundation; Fed. R. Evid. 403
Plaintiff - 59:8-25           47:20-48:22; 50:23-70:24             Hearsay; Foundation; Fed. R. Evid. 403
Plaintiff - 60:2-16           47:20-48:22; 50:23-70:24             Hearsay; Foundation; Fed. R. Evid. 403
Plaintiff - 61:2-62:3         47:20-48:22; 50:23-70:24             Hearsay; Foundation; Fed. R. Evid. 403
Plaintiff - 68:19-10          47:20-48:22; 50:23-70:24             Hearsay; Foundation; Fed. R. Evid. 403
Plaintiff - 87:21-88:7        25:12-26:12; 111:7-114:15            Foundation; Fed. R. Evid. 403
Plaintiff - 90:22-91:9        91:10-13                             Relevance; Hearsay; Foundation; Fed. R.
                                                                   Evid. 403
Plaintiff - 92:18-93:24       94:14-95:3                           Relevance; Hearsay; Foundation; Fed. R.
                                                                   Evid. 403
Plaintiff - 94:14-95:3        N/A                                  Relevance; Hearsay; Foundation; Fed. R.
                                                                   Evid. 403
Plaintiff - 96:6-97:19        109:10-18; 145:14-146:4; 201:20-     Relevance; Hearsay; Foundation; Lack
                              202:9; 217:19-218:10                 of Personal Knowledge; Improper
                                                                   Opinions and Conclusions; Fed. R. Evid.
                                                                   403
Plaintiff - 98:8-21           176:8-178:5                          Relevance; Hearsay; Foundation;
                                                                   Improper Opinions and Conclusions;
                                                                   Fed. R. Evid. 403
Plaintiff - 99:9-13           176:8-178:5
Plaintiff - 102:12-23         100:20-102:3; 102:24-103:4;          Relevance; Hearsay; Foundation; Lack
                              103:23-104:17; 119:9-21; 153:21-     of Personal Knowledge; Improper
                              154:5; 157:2-11; 160:7-22; 179:6-    Opinions and Conclusions; Fed. R. Evid.
                              183:22; 187:25-188:10                403
Plaintiff - 104:5-17          100:20-102:3; 102:24-103:4;          Relevance; Hearsay; Foundation; Lack
                              103:23-104:17; 119:9-21; 153:21-     of Personal Knowledge; Improper
                              154:5; 157:2-11; 160:7-22; 179:6-    Opinions and Conclusions; Fed. R. Evid.
                              183:22; 187:25-188:10                403
Plaintiff - 111:4-114:15      25:12-26:12; 111:7-114:15            Foundation; Fed. R. Evid. 403
Plaintiff - 120:14-121:11     109:10-18; 145:14-146:4; 201:20-     Relevance; Hearsay; Foundation; Lack
                              202:9; 217:19-218:10                 of Personal Knowledge; Improper
                                                                   Opinions and Conclusions; Fed. R. Evid.
                                                                   403



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Plaintiff - 122:23-128:5     N/A                                 Relevance; Hearsay; Foundation; Lack
                                                                 of Personal Knowledge; Improper
                                                                 Opinions and Conclusions; Improper
                                                                 Character Evidence; Fed. R. Evid. 403
Plaintiff - 128:16-138:20    N/A                                 Relevance; Hearsay; Foundation; Lack
                                                                 of Personal Knowledge; Improper
                                                                 Opinions and Conclusions; Improper
                                                                 Character Evidence; Fed. R. Evid. 403
Plaintiff - 143:7-17         150:20-151:19                       Relevance; Hearsay; Foundation; Lack
                                                                 of Personal Knowledge; Fed. R. Evid.
                                                                 403
Plaintiff - 144:17-145:5     100:20-102:3; 102:24-103:4;         Relevance; Hearsay; Foundation; Lack
                             103:23-104:17; 119:9-21; 153:21-    of Personal Knowledge; Fed. R. Evid.
                             154:5; 157:2-11; 160:7-22; 179:6-   403
                             183:22; 187:25-188:10
Plaintiff - 145:22-146:4     100:20-102:3; 102:24-103:4;         Relevance; Hearsay; Foundation; Lack
                             103:23-104:17; 119:9-21; 153:21-    of Personal Knowledge; Improper
                             154:5; 157:2-11; 160:7-22; 179:6-   Opinions and Conclusions; Fed. R. Evid.
                             183:22; 187:25-188:10               403
Plaintiff - 147:17-149:10    146:23-147:14; 149:16-150:15;       Relevance; Hearsay; Foundation;
                             153:15-156:16; 158:22-159:5;        Improper Opinions and Conclusions;
                             206:21-207:5                        Fed. R. Evid. 403
Plaintiff - 151:22-152:18    146:23-147:14; 149:16-150:15;       Relevance; Hearsay; Foundation;
                             153:15-156:16; 158:22-159:5;        Improper Opinions and Conclusions;
                             206:21-207:5                        Fed. R. Evid. 403
Plaintiff - 153:9-19         146:23-147:14; 149:16-150:15;       Relevance; Hearsay; Foundation;
                             153:15-156:16; 158:22-159:5;        Improper Opinions and Conclusions;
                             206:21-207:5                        Fed. R. Evid. 403
Plaintiff - 154:6-155:25     146:23-147:14; 149:16-150:15;       Relevance; Hearsay; Foundation;
                             153:15-156:16; 158:22-159:5;        Improper Opinions and Conclusions;
                             206:21-207:5                        Fed. R. Evid. 403
Plaintiff - 157:25-159:5     146:23-147:14; 149:16-150:15;       Relevance; Hearsay; Foundation;
                             153:15-156:16; 158:22-159:5;        Improper Opinions and Conclusions;
                             206:21-207:5                        Fed. R. Evid. 403
Plaintiff - 161:5-20         109:10-18; 145:14-146:4; 201:20-    Relevance; Hearsay; Foundation; Lack
                             202:9; 217:19-218:10                of Personal Knowledge; Improper
                                                                 Opinions and Conclusions; Fed. R. Evid.
                                                                 403
Plaintiff - 171:8-22         25:12-26:12; 111:7-114:15           Foundation; Hearsay; Fed. R. Evid. 403



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Plaintiff - 174:2-18         100:20-102:3; 102:24-103:4;         Relevance; Hearsay; Foundation; Lack
                             103:23-104:17; 119:9-21; 153:21-    of Personal Knowledge; Improper
                             154:5; 157:2-11; 160:7-22; 179:6-   Opinions and Conclusions; Fed. R. Evid.
                             183:22; 187:25-188:10               403

Plaintiff - 182:19-183:8     100:20-102:3; 102:24-103:4;         Relevance; Hearsay; Foundation; Lack
                             103:23-104:17; 119:9-21; 153:21-    of Personal Knowledge; Improper
                             154:5; 157:2-11; 160:7-22; 179:6-   Opinions and Conclusions; Fed. R. Evid.
                             183:22; 187:25-188:10               403
Plaintiff - 185:4-187:12     100:20-102:3; 102:24-103:4;         Relevance; Hearsay; Foundation; Lack
                             103:23-104:17; 119:9-21; 153:21-    of Personal Knowledge; Improper
                             154:5; 157:2-11; 160:7-22; 179:6-   Opinions and Conclusions; Fed. R. Evid.
                             183:22; 187:25-188:10               403
Plaintiff - 189:24-190:12    25:12-26:12; 111:7-114:15           Relevance; Hearsay; Foundation; Fed. R.
                                                                 Evid. 403
Plaintiff - 194:11-195:6     25:12-26:12; 109:10-18; 111:7-      Relevance; Hearsay; Foundation; Fed. R.
                             114:15; 145:14-146:4; 201:20-       Evid. 403
                             202:9; 217:19-218:10
Plaintiff - 201:5-25         109:10-18; 145:14-146:4; 201:20-    Relevance; Hearsay; Foundation; Fed. R.
                             202:9; 205:14-206:10; 212:14-24;    Evid. 403
                             217:19-218:10; 238:20-239:10
Plaintiff - 202:10-12        25:12-26:12; 109:10-18; 111:7-      Relevance; Hearsay; Foundation; Fed. R.
                             114:15; 145:14-146:4; 201:20-       Evid. 403
                             202:9; 205:14-206:10; 212:14-24;
                             217:19-218:10; 238:20-239:10
Plaintiff - 205:14-206:2     109:10-18; 145:14-146:4; 201:20-    Relevance; Hearsay; Foundation; Fed. R.
                             202:9; 205:14-206:10; 212:14-24;    Evid. 403
                             217:19-218:10; 238:20-239:10
Plaintiff - 206:18-207:18    25:12-26:12; 109:10-18; 111:7-      Relevance; Hearsay; Foundation; Fed. R.
                             114:15; 145:14-146:4; 201:20-       Evid. 403
                             202:9; 205:14-206:10; 212:14-24;
                             217:19-218:10; 238:20-239:10
Plaintiff - 208:9-209:20     25:12-26:12; 109:10-18; 111:7-      Relevance; Hearsay; Foundation; Fed. R.
                             114:15; 145:14-146:4; 201:20-       Evid. 403
                             202:9; 205:14-206:10; 212:14-24;
                             217:19-218:10; 238:20-239:10
Plaintiff - 212:11-20        109:10-18; 145:14-146:4; 201:20-    Relevance; Hearsay; Foundation; Fed. R.
                             202:9; 205:14-206:10; 212:14-24;    Evid. 403
                             217:19-218:10; 238:20-239:10



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Plaintiff - 214:9-11         214:12-19                            Relevance; Hearsay; Foundation; Fed. R.
                                                                  Evid. 403
Plaintiff - 215:20-216:12    109:10-18; 145:14-146:4; 201:20-     Relevance; Hearsay; Foundation; Fed. R.
                             202:9; 205:14-206:10; 212:14-24;     Evid. 403
                             217:19-218:10; 238:20-239:10
Plaintiff - 216:17-217:21    109:10-18; 145:14-146:4; 201:20-     Relevance; Hearsay; Foundation; Fed. R.
                             202:9; 205:14-206:10; 212:14-24;     Evid. 403
                             217:19-218:10; 238:20-239:10
Plaintiff - 219:21-220:2     109:10-18; 145:14-146:4; 201:20-     Relevance; Hearsay; Foundation; Lack
                             202:9; 217:19-218:10                 of Personal Knowledge; Fed. R. Evid.
                                                                  403
Plaintiff - 220:24-221:5     25:12-26:12; 111:7-114:15; 224:23-   Relevance; Hearsay; Foundation; Lack
                             225:13                               of Personal Knowledge; Fed. R. Evid.
                                                                  403
Plaintiff - 222:14-224:20    25:12-26:12; 111:7-114:15; 224:23-   Relevance; Hearsay; Foundation; Lack
                             225:13                               of Personal Knowledge; Fed. R. Evid.
                                                                  403
Plaintiff - 225:14-226:12    25:12-26:12; 111:7-114:15; 224:23-   Relevance; Hearsay; Foundation; Lack
                             225:13                               of Personal Knowledge; Fed. R. Evid.
                                                                  403
Plaintiff - 228:4-13         109:10-18; 145:14-146:4; 201:20-     Relevance; Hearsay; Foundation; Lack
                             202:9; 217:19-218:10                 of Personal Knowledge; Fed. R. Evid.
                                                                  403
Plaintiff - 229:4-230:18     25:12-26:12; 109:10-18; 111:7-       Relevance; Foundation; Fed. R. Evid.
                             114:15; 109:10-18; 145:14-146:4;     403
                             201:20-202:9; 205:14-206:10;
                             214:12-19; 217:19-218:10; 238:20-
                             239:10; 253:13-254:12
Plaintiff - 236:12-237:11    146:23-147:14; 149:16-150:15;        Relevance; Hearsay; Foundation;
                             153:15-156:16; 158:22-159:5;         Improper Opinions and Conclusions;
                             206:21-207:5                         Fed. R. Evid. 403
Plaintiff - 238:7-11         146:23-147:14; 149:16-150:15;        Relevance; Hearsay; Foundation;
                             153:15-156:16; 158:22-159:5;         Improper Opinions and Conclusions;
                             206:21-207:5                         Fed. R. Evid. 403
Plaintiff - 238:20-240:24    109:10-18; 145:14-146:4; 201:20-     Relevance; Hearsay; Foundation;
                             202:9; 205:14-206:10; 212:14-24;     Improper Opinions and Conclusions;
                             217:19-218:10; 238:20-239:10         Fed. R. Evid. 403
Plaintiff - 243:11-245:18    19:7-21:16; 29:6-14; 38:7-15         Relevance; Foundation; Fed. R. Evid.
                                                                  403



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Plaintiff - 249:19-251:5           25:12-26:12; 109:10-18; 111:7-       Relevance; Hearsay; Foundation; Fed. R.
                                   114:15; 145:14-146:4; 201:20-        Evid. 403
                                   202:9; 205:14-206:10; 212:14-24;
                                   217:19-218:10; 238:20-239:10
Plaintiff - 253:3-254:23           25:12-26:12; 109:10-18; 111:7-       Relevance; Hearsay; Foundation; Fed. R.
                                   114:15; 145:14-146:4; 201:20-        Evid. 403
                                   202:9; 205:14-206:10; 212:14-24;
                                   217:19-218:10; 238:20-239:10
Plaintiff - 257:9-14               25:2-26:12; 72:20-73:3; 109:10-18;   Relevance; Hearsay; Foundation; Fed. R.
                                   111:7-114:15; 145:14-146:4;          Evid. 403
                                   201:20-202:9; 205:14-207:5;
                                   212:14-24; 217:19-218:10; 238:20-
                                   239:10; 251:14-252:18
Prakhin - 136:7-137:16             150:25-153:19; 155:8-156:21;         Relevance; Hearsay; Foundation; Fed. R.
                                   250:13-16; 260:11-263:7              Evid. 403
Prakhin - 195:2-197:16             197:17-198:11                        Hearsay; Foundation; Fed. R. Evid. 403
Prakhin - 207:21-209:23            189:9-191:6; 198:12-21; 209:13-      Relevance; Hearsay; Foundation; Lack
                                   212:17; 222:4-224:18                 of Personal Knowledge; Improper
                                                                        Opinions and Conclusions; Improper
                                                                        Character Evidence; Fed. R. Evid. 403
Prakhin - 234:7-25                 235:6-20; 281:23-282:4; 305:13-24;   Relevance; Hearsay; Foundation; Lack
                                   316:21-317:10                        of Personal Knowledge; Fed. R. Evid.
                                                                        403
Prakhin - 273:8-274:25             235:6-20; 276:13-19; 281:23-282:4;   Relevance; Hearsay; Foundation; Lack
                                   305:13-24; 316:21-317:10             of Personal Knowledge; Fed. R. Evid.
                                                                        403
Prakhin - 276:25-277:21            189:9-191:6; 198:12-21; 209:13-      Relevance; Hearsay; Foundation; Lack
                                   212:17; 222:4-224:18; 336:6-337:8    of Personal Knowledge; Improper
                                                                        Opinions and Conclusions; Improper
                                                                        Character Evidence; Fed. R. Evid. 403
Prakhin - 280:23-281:17            235:6-20; 281:23-282:4; 305:13-24;   Relevance; Hearsay; Foundation; Lack
                                   316:21-317:10; 276:13-19             of Personal Knowledge; Improper
                                                                        Opinions and Conclusions; Improper
                                                                        Character Evidence; Fed. R. Evid. 403
Prakhin - 285:13-286:16            139:15-144:7; 189:9-191:6; 198:12-   Relevance; Hearsay; Foundation; Lack
                                   21; 209:13-212:17; 222:4-224:18;     of Personal Knowledge; Fed. R. Evid.
                                   277:16-21                            403
Prakhin 30(b)(6) - 125:13-126:23   128:21-129:6; Prakhin Dep. at        Relevance; Hearsay; Foundation; Fed. R.
                                   298:10-302:18                        Evid. 403



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Prakhin 30(b)(6) - 129:19-130:10        128:21-129:6                          Relevance; Hearsay; Foundation; Fed. R.
                                                                              Evid. 403
Raskin - 64:2-14                        63:7-70:24; 111:4-112:18; 121:20-     Relevance; Hearsay; Foundation; Fed. R.
                                        127:10; 134:25-137:16; 139:16-        Evid. 403
                                        140:24
Raskin - 124:21-125:18                  63:7-70:24; 111:4-112:18; 121:20-     Relevance; Hearsay; Foundation; Fed. R.
                                        127:10; 128:2-129:21; 134:25-         Evid. 403
                                        137:16; 139:16-140:24
Raskin - 128:14-22                      128:23-129:3                          Relevance; Hearsay; Foundation; Fed. R.
                                                                              Evid. 403
Raskin - 145:22-146:7                   146:8-148:7                           Relevance; Hearsay; Foundation; Fed. R.
                                                                              Evid. 403
Raskin - 157:21-158:10                  63:7-70:24                            Relevance; Hearsay; Foundation; Fed. R.
                                                                              Evid. 403
Belous - 61:10-62:6                     24:24-25:7; 62:7-63:25                Relevance; Hearsay; Foundation; Fed. R.
                                                                              Evid. 403
Larssen - 76:23-77:9                    13:13-33:12; 77:23-87:12; 130:15-     Relevance; Hearsay; Foundation; Fed. R.
                                        132:19                                Evid. 403
Larssen - 78:22-79:6                    13:13-33:12; 77:23-87:12; 130:15-     Relevance; Hearsay; Foundation; Fed. R.
                                        132:19                                Evid. 403
Larssen - 83:22-85:5                    13:13-33:12; 77:23-87:12; 130:15-     Relevance; Hearsay; Foundation; Fed. R.
                                        132:19                                Evid. 403

          X.         A list by each party of exhibits to be offered into evidence.

                     A.     Plaintiff’s Exhibits

Exhibit                                                                                     Objection(s) by
                 Bates No.                         Description
  No.                                                                                        Defendants
N/A            N/A                Enlarged versions of the exhibits of any     Fed. Rules Evid. 802-805, 901-902,
                                  Party.                                       1003; Violates best evidence rule;
                                                                               Incorrect representation; Not
                                                                               instructive.

                                                                               The exhibit has not been provided, and
                                                                               Defendants reserve their right to make
                                                                               any and all further objections when
                                                                               presented.




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Exhibit                                                                             Objection(s) by
            Bates No.                   Description
  No.                                                                                Defendants
N/A       N/A           Enlarged excerpts of the deposition or trial   Fed. Rules Evid. 802-805, 901-902,
                        testimony of any witness.                      1003; Violates best evidence rule;
                                                                       Incorrect representation; Not
                                                                       instructive.

                                                                       The exhibit has not been provided, and
                                                                       Defendants reserve their right to make
                                                                       any and all further objections when
                                                                       presented.
N/A       N/A           Electronic highlighting and/or cropping        Relevance; Fed. Rules Evid. 403-404,
                        and/or “pop-outs” of the exhibits of any       802-805, 901-902, 1003; Violates best
                        Party.                                         evidence rule; Incorrect
                                                                       representation; Not instructive.

                                                                       The exhibit has not been provided, and
                                                                       Defendants reserve their right to make
                                                                       any and all further objections when
                                                                       presented.
N/A       N/A           Electronic highlighting and/or cropping        Relevance; Fed. Rules Evid. 403-404,
                        and/or “pop-outs” of the deposition or trial   802-805, 901-902, 1003; Violates best
                        testimony of any witness.                      evidence rule; Incorrect
                                                                       representation; Not instructive.

                                                                     The exhibit has not been provided, and
                                                                     Defendants reserve their right to make
                                                                     any and all further objections when
                                                                     presented.
N/A       N/A           Compilations of information contained        Relevance; Fed. Rules Evid. 403-404,
                        within the exhibits of any party, including, 802-805, 901-902, 1003; Violates best
                        but not limited to, lists, charts, graphs,   evidence rule; Incorrect
                        tables, timelines, PowerPoint presentations, representation; Not instructive.
                        slide shows or any other form of presenting
                        such information.                            The exhibit has not been provided, and
                                                                     Defendants reserve their right to make
                                                                     any and all further objections when
                                                                     presented.




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Exhibit                                                                              Objection(s) by
             Bates No.                   Description
  No.                                                                                  Defendants
N/A       N/A            Compilations of the deposition or trial          Relevance; Fed. Rules Evid. 403-404,
                         testimony of any witness, including, but         802-805, 901-902, 1003; Violates best
                         not limited to, lists, charts, graphs, tables,   evidence rule; Incorrect
                         timelines, PowerPoint presentations,             representation; Not instructive.
                         slideshows or any other form of presenting
                         such information.                                The exhibit has not been provided, and
                                                                          Defendants reserve their right to make
                                                                          any and all further objections when
                                                                          presented.
          PLAINTIFF      Medical records dated October 8, 2018.           Fed. Rules Evid. 802-805, 901-902,
1
          000015                                                          1003
          PLAINTIFF      Medical records dated November 5, 2018.          Fed. Rules Evid. 802-805, 901-902,
2
          000016-32                                                       1003
          PLAINTIFF      Email dated December 5, 2018.
3
          000053
          PLAINTIFF      Invoice dated November 9, 2018.                  Relevance; Fed. Rules Evid. 403-404,
4         000057-58                                                       802-805, 901-902, 1003; Incomplete
                                                                          exhibit.
          PLAINTIFF      Emails dated November 9, 2018.
5
          000060-63
          PLAINTIFF      Declaration of Nicholas Serlin.                  Fed. Rules Evid. 403-404, 802-805,
          000107-9                                                        901-902, 1003; lack of personal
6                                                                         knowledge; speculation; improper
                                                                          opinion and conclusions; improper
                                                                          character evidence
          PLAINTIFF      Declaration of Steven Korytny.                   Fed. Rules Evid. 403-404, 802-805,
          000110-14                                                       901-902, 1003; lack of personal
7                                                                         knowledge; speculation; improper
                                                                          opinion and conclusions; improper
                                                                          character evidence
          PLAINTIFF      Email dated August 13, 2018.                     Relevance; Fed. Rules Evid. 403-404,
8
          000315                                                          802-805, 901-902, 1003
          PLAINTIFF      Email dated August 15, 2018.                     Relevance; Fed. Rules Evid. 403-404,
9
          000348-49                                                       802-805, 901-902, 1003
          PLAINTIFF      Email dated September 5, 2018.                   Relevance; Fed. Rules Evid. 403-404,
10
          000518-19                                                       802-805, 901-902, 1003
          PLAINTIFF      Medical records dated April 30, 2017,            Relevance; Fed. Rules Evid. 403, 802-
          00613-51       March 22, 2017, March 27, 20217, March           805, 901-902, 1003; This is privileged
                         24, 2017, and October 9, 2017.                   medical information of a non-party
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                                                                          and confidential information regarding
                                                                          the Firm’s client that has not been
                                                                          redacted or marked confidential.
          PLAINTIFF      Email dated October 15, 2018.                    Relevance; Fed. Rules Evid. 403-404,
12
          000664-71                                                       802-805, 901-902, 1003

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Exhibit                                                                         Objection(s) by
             Bates No.                  Description
   No.                                                                            Defendants
13        PLAINTIFF      Email dated September 20, 2018.              Relevance; Fed. Rules Evid. 403-404,
          001059                                                      802-805, 901-902, 1003
14        PLAINTIFF      Email dated August 1, 2018.
          001082
15        PLAINTIFF      Emails dated August 6, 2018.
          001089
16        PLAINTIFF      Invoices.                                    Relevance; Fed. Rules Evid. 403-404,
          001260-97                                                   802-805, 901-902, 1003; Incomplete
                                                                      exhibit.
17        PLAINTIFF      Transcript of audio recording labeled 370-   Relevance; Fed. Rules Evid. 403-404,
          001376-93      Inbound-Optimum-646726642-509.               802-805, 901-902, 1003; objection to
                                                                      the accuracy of the translation and
                                                                      transcript
18        PLAINTIFF      Transcript of audio recording labeled 384-   Relevance; Fed. Rules Evid. 403-404,
          001396-1404    Inbound-Optimum 646726642-509.               802-805, 901-902, 1003; objection to
                                                                      the accuracy of the translation and
                                                                      transcript
19        PLAINTIFF      Transcript of audio recording labeled 386-   Relevance; Fed. Rules Evid. 403-404,
          001405-1415    Inbound-Optimum 646726642-509.               802-805, 901-902, 1003; objection to
                                                                      the accuracy of the translation and
                                                                      transcript
20        PLAINTIFF      Transcript of audio recording labeled 482-   Relevance; Fed. Rules Evid. 403-404,
          001428-36      Inbound- Optimum 646726642-509.              802-805, 901-902, 1003; objection to
                                                                      the accuracy of the translation and
                                                                      transcript
21        PLAINTIFF      Transcript of audio recording labeled 485-   Relevance; Fed. Rules Evid. 403-404,
          001466-1467    Inbound- Optimum 646726642-509.              802-805, 901-902, 1003; objection to
                                                                      the accuracy of the translation and
                                                                      transcript
22        PLAINTIFF      Transcript of audio recording labeled 261-   Relevance; Fed. Rules Evid. 403-404,
          001473-74      International-500-502.                       802-805, 901-902, 1003; objection to
                                                                      the accuracy of the translation and
                                                                      transcript
23        PLAINTIFF      Transcript of audio recording labeled 324-   Relevance; Fed. Rules Evid. 403-404,
          001475         International-500-502.                       802-805, 901-902, 1003; objection to
                                                                      the accuracy of the translation and
                                                                      transcript
24        PLAINTIFF      Transcript of audio recording labeled 334-   Relevance; Fed. Rules Evid. 403-404,
          001476         International-500-502.                       802-805, 901-902, 1003; objection to
                                                                      the accuracy of the translation and
                                                                      transcript




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Exhibit                                                                           Objection(s) by
             Bates No.                    Description
   No.                                                                              Defendants
25        PLAINTIFF       Transcript of audio recording labeled 377-   Relevance; Fed. Rules Evid. 403-404,
          01477           International-500-502.                       802-805, 901-902, 1003; objection to
                                                                       the accuracy of the translation and
                                                                       transcript
26        PLAINTIFF       Transcript of audio recording labeled 394-   Relevance; Fed. Rules Evid. 403-404,
          001478          International-500-502.                       802-805, 901-902, 1003; objection to
                                                                       the accuracy of the translation and
                                                                       transcript
27        PLAINTIFF       Transcript of audio recording labeled 432-   Relevance; Fed. Rules Evid. 403-404,
          001479          International-500-502.                       802-805, 901-902, 1003; objection to
                                                                       the accuracy of the translation and
                                                                       transcript
28        PLAINTIFF       Transcript of audio recording labeled 436-   Relevance; Fed. Rules Evid. 403-404,
          001480          International-500-502.                       802-805, 901-902, 1003; objection to
                                                                       the accuracy of the translation and
                                                                       transcript
29        PLAINTIFF       Transcript of audio recording labeled 439-   Relevance; Fed. Rules Evid. 403-404,
          001481          International-500-502.                       802-805, 901-902, 1003; objection to
                                                                       the accuracy of the translation and
                                                                       transcript
30        PLAINTIFF       Transcript of audio recording labeled 517-   Relevance; Fed. Rules Evid. 403-404,
          001482          Inbound- Optimum 646726642-500.              802-805, 901-902, 1003; objection to
                                                                       the accuracy of the translation and
                                                                       transcript
31        PLAINTIFF       Plaintiff’s résumé.
          001538-001539
32        PLAINTIFF       Invoice dated December 2, 2020.              Relevance; Fed. Rules Evid. 403-404,
          001644                                                       802-805, 901-902, 1003; Incomplete
                                                                       exhibit.
33        PLAINTIFF       Text messages dated October 3, 2018          Relevance; Fed. Rules Evid. 403-404,
          001658-64       through November 21, 2018.                   802-805, 901-902, 1003; violates best
                                                                       evidence rule; improper character
                                                                       evidence.

                                                                       This is privileged medical information
                                                                       of a non-party and confidential
                                                                       information regarding the Firm’s
                                                                       client that has not been redacted or
                                                                       marked confidential.

                                                                       Description of the exhibit does not
                                                                       accurately reflect the contents of the
                                                                       exhibit.



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Exhibit                                                                   Objection(s) by
             Bates No.                  Description
   No.                                                                      Defendants
34        D00001-4       Emails dated December 12, 2018.     Relevance; Fed. Rules Evid. 403-404,
                                                             802-805, 901-902, 1003
35        D00017-23      Emails dated November 15, 2018.     Relevance; Fed. Rules Evid. 403-404,
                                                             802-805, 901-902, 1003; Duplicative
                                                             of Plaintiff’s Exs. 49 and 50
36        D00104-8       Emails dated September 18, 2018.    Relevance; Fed. Rules Evid. 403-404,
                                                             802-805, 901-902, 1003
37        D00325         Emails dated October 16, 2018.
38        D00353-54      Emails dated September 20, 2018.    Relevance; Fed. Rules Evid. 403-404,
                                                             802-805, 901-902, 1003
39        D00359-61      Emails dated September 18, 2018.    Relevance; Fed. Rules Evid. 403-404,
                                                             802-805, 901-902, 1003
40        D00494-95      Emails dated July 26, 2018.         Relevance; Fed. Rules Evid. 403-404,
                                                             802-805, 901-902, 1003
41        D00724-26      Emails dated August 13, 2018.
42        D00761-62      Emails dated December 13, 2018.     Relevance; Fed. Rules Evid. 403-404,
                                                             802-805, 901-902, 1003
43        D00814         Emails dated September 12, 2018.
44        D00828-29      Email dated July 10, 2018.          Relevance; Fed. Rules Evid. 403-404,
                                                             802-805, 901-902, 1003
45        D00833         Email dated December 19, 2018.
46        D00855         Email dated November 9, 2018.
47        D01140-41      Emails dated January 7, 2019.       Relevance; Fed. Rules Evid. 403-404,
                                                             802-805, 901-902, 1003
48        D01191         Email dated October 20, 2018.       Relevance; Fed. Rules Evid. 403-404,
                                                             802-805, 901-902, 1003
49        D01202-1208    Emails dated November 15, 2018.
50        D01299-1305    Emails dated November 15, 2018.     Relevance; Fed. Rules Evid. 403-404,
                                                             802-805, 901-902, 1003; Duplicative
                                                             of Plaintiff’s Ex. 49
51        D01311-13      Emails dated November 20, 2018.     Relevance; Fed. Rules Evid. 403-404,
                                                             802-805, 901-902, 1003
52        D01322-23      Emails dated February 11, 2019.
53        D01326         Email dated June 19, 2018.
54        D01382-91      Email dated October 15, 2018.       Relevance; Fed. Rules Evid. 403-404,
                                                             802-805, 901-902, 1003
55        D01409-10      Email dated August 14, 2018.        Relevance; Fed. Rules Evid. 403-404,
                                                             802-805, 901-902, 1003
56        D01414         Emails dated October 1, 2018.       Relevance; Fed. Rules Evid. 403-404,
                                                             802-805, 901-902, 1003
57        D01415-16      Emails dated October 29, 2018.      Relevance; Fed. Rules Evid. 403-404,
                                                             802-805, 901-902, 1003



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Exhibit                                                                Objection(s) by
             Bates No.                 Description
   No.                                                                   Defendants
58        D01417-01419   Emails dated October 29, 2018.      Relevance; Fed. Rules Evid. 403-404,
                                                             802-805, 901-902, 1003
59        D01440-41      Emails dated November 14, 2018.
60        D01457-59      Emails dated December 10, 2018.     Relevance; Fed. Rules Evid. 403-404,
                                                             802-805, 901-902, 1003
61        D01460-63      Emails dated December 12, 2018.     Relevance; Fed. Rules Evid. 403-404,
                                                             802-805, 901-902, 1003
62        D01477-78      Emails dated July 31, 2018.
63        D01496-97      Emails dated August 14, 2018.       Relevance; Fed. Rules Evid. 403-404,
                                                             802-805, 901-902, 1003
64        D01503-4       Emails dated August 22, 2018.       Relevance; Fed. Rules Evid. 403-404,
                                                             802-805, 901-902, 1003
65        D01505         Emails dated August 31, 2018.       Relevance; Fed. Rules Evid. 403-404,
                                                             802-805, 901-902, 1003
66        D01512-13      Emails dated September 20, 2018.    Relevance; Fed. Rules Evid. 403-404,
                                                             802-805, 901-902, 1003
67        D01527-28      Emails dated September 25, 2018.    Relevance; Fed. Rules Evid. 403-404,
                                                             802-805, 901-902, 1003
68        D01542         Emails dated September 27, 2018.    Relevance; Fed. Rules Evid. 403-404,
                                                             802-805, 901-902, 1003
69        D01546-52      Email dated October 7, 2018.        Relevance; Fed. Rules Evid. 403-404,
                                                             802-805, 901-902, 1003
70        D01553         Email dated October 8, 2018.        Relevance; Fed. Rules Evid. 403-404,
                                                             802-805, 901-902, 1003
71        D01566         Email dated November 30, 2018.
72        D01567         Email dated February 1, 2019.       Relevance; Fed. Rules Evid. 403-404,
                                                             802-805, 901-902, 1003
73        D01600-1       Emails dated September 26, 2018.    Relevance; Fed. Rules Evid. 403-404,
                                                             802-805, 901-902, 1003
74        D01606-8       Emails dated October 13, 2018.      Relevance; Fed. Rules Evid. 403-404,
                                                             802-805, 901-902, 1003
75        D01628         Email dated December 10, 2018.      Relevance; Fed. Rules Evid. 403-404,
                                                             802-805, 901-902, 1003
76        D01678         Emails dated October 10, 2018.
77        D01679         Email dated October 15, 2018.
78        D01690-91      Emails dated March 30, 2020.        Relevance; Fed. Rules Evid. 403-404,
                                                             802-805, 901-902, 1003
79        D01702-3       Emails dated August 15, 2018.
80        D01715         Emails dated September 21, 2018.    Relevance; Fed. Rules Evid. 403-404,
                                                             802-805, 901-902, 1003
81        D01720-24      Emails dated September 25, 2018.    Relevance; Fed. Rules Evid. 403-404,
                                                             802-805, 901-902, 1003



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Exhibit                                                                         Objection(s) by
              Bates No.                  Description
   No.                                                                            Defendants
82         D01726         Emails dated September 27, 2018           Relevance; Fed. Rules Evid. 403-404,
                                                                    802-805, 901-902, 1003; Duplicate of
                                                                    Plaintiff’s Ex. 68 (D01542)
83         D01732         Emails dated October 8, 2018.             Relevance; Fed. Rules Evid. 403-404,
                                                                    802-805, 901-902, 1003
84         D01759-65      Emails dated December 28, 2018.
85         D01770-72      Emails dated February 18, 2019.           Relevance; Fed. Rules Evid. 403-404,
                                                                    802-805, 901-902, 1003
86         D01793         Emails dated September 24, 2018.          Relevance; Fed. Rules Evid. 403-404,
                                                                    802-805, 901-902, 1003
87         D01802         Email dated November 17, 2018.
88         D01815-16      Emails dated December 8, 2018.
89         D01944-2071    Deposition transcript dated December 3,   Relevance; Fed. Rules Evid. 403, 802-
                          2018.                                     805, 901-902, 1003; not instructive.

                                                                    Description of the exhibit does not
                                                                    accurately reflect the contents of the
                                                                    exhibit.
90         D03562         Email dated October 4, 2018.              Relevance; Fed. Rules Evid. 403-404,
                                                                    802-805, 901-902, 1003
91         D03656-57      Emails dated October 13, 2018.            Relevance; Fed. Rules Evid. 403-404,
                                                                    802-805, 901-902, 1003
92         D03718         Emails dated October 13, 2018.            Relevance; Fed. Rules Evid. 403-404,
                                                                    802-805, 901-902, 1003
93         D03774-75      Emails dated October 20, 2018.            Relevance; Fed. Rules Evid. 403-404,
                                                                    802-805, 901-902, 1003
94         D03812-13      Emails dated October 20, 2018.            Relevance; Fed. Rules Evid. 403-404,
                                                                    802-805, 901-902, 1003
95         D03867-8       Emails dated October 29, 2018
96         D04100         Email dated December 5, 2018.             Relevance; Fed. Rules Evid. 403-404,
                                                                    802-805, 901-902, 1003
97         D05009-10      Emails dated July 25, 2018.               Relevance; Fed. Rules Evid. 403-404,
                                                                    802-805, 901-902, 1003
98         D05582         Email dated August 2, 2018.               Relevance; Fed. Rules Evid. 403-404,
                                                                    802-805, 901-902, 1003; Incomplete
                                                                    Exhibit
99         D05679         Email dated August 6, 2018.               Relevance; Fed. Rules Evid. 403-404,
                                                                    802-805, 901-902, 1003
100        D05714         Email dated August 6, 2018.
101        D06441-42      Email dated August 27, 2018.              Relevance; Fed. Rules Evid. 403-404,
                                                                    802-805, 901-902, 1003
102        D07364         Emails dated September 10, 2018.
103        D07450         Email dated September 11, 2018.
104        D07455-56      Email dated September 11, 2018.

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Exhibit                                                                          Objection(s) by
              Bates No.                  Description
  No.                                                                             Defendants
105        D07652-53      Email dated September 17, 2018.
106        D07683-7752    Deposition transcript dated March 20,        Relevance; Fed. Rules Evid. 403-404,
                          2017.                                        802-805, 901-902, 1003
107        D07791         Emails dated September 2018, 2018.           Relevance; Fed. Rules Evid. 403-404,
                                                                       802-805, 901-902, 1003; Duplicate of
                                                                       Plaintiff’s Ex. 39 (D00359-61)
108        D07794-98      Emails dated February 15, 2018, February     Relevance; Fed. Rules Evid. 403-404,
                          22, 2018, June 1, 2018, June 5, 2018, June   802-805, 901-902, 1003
                          15, 2018 and September 18, 2018.
109        D07814         Email dated September 18, 2018.              Relevance; Fed. Rules Evid. 403-404,
                                                                       802-805, 901-902, 1003
110        D08142         Emails dated December 16, 2016 and           Relevance; Fed. Rules Evid. 403-404,
                          September 21, 2018.                          802-805, 901-902, 1003; Duplicate of
                                                                       Plaintiff’s Ex. 80 (D01715)
111        D08281-82      Emails dated September 24, 2018.             Relevance; Fed. Rules Evid. 403-404,
                                                                       802-805, 901-902, 1003
112        D08338         Email dated September 26, 2018.
113        D08739-8801    Deposition dated March 30, 2017.             Relevance; Fed. Rules Evid. 403-404,
                                                                       802-805, 901-902, 1003
114        D08945-48      Emails dated July 5, 2018, July 11, 2018,    Relevance; Fed. Rules Evid. 403-404,
                          July 16, 2018, and November 3, 2018.         802-805, 901-902, 1003
115        D09559-62      Email dated November 14, 2018,               Relevance; Fed. Rules Evid. 403-404,
                          November 19, 2018, November 21, 2018         802-805, 901-902, 1003; Duplicate of
                          and December 12, 2018.                       Plaintiff’s Ex. 61 (D01460-63)
116        D09622-9623    Emails dated December 8, 2018.
117        D10061         Email dated September 18, 2018.              Relevance; Fed. Rules Evid. 403-404,
                                                                       802-805, 901-902, 1003
118        D10358         Email dated August 6, 2018.                  Relevance; Fed. Rules Evid. 403-404,
                                                                       802-805, 901-902, 1003; Duplicate of
                                                                       Plaintiff’s Ex. 100 (D05714)
119        D10969         Emails dated October 20, 2018 and
                          November 2, 2018.
120        D11964         2018 8879-S Form.                            Relevance; Fed. Rules Evid. 403-404,
                                                                       802-805, 901-902, 1003
121        D11974         2018 1125-E Form.                            Relevance; Fed. Rules Evid. 403-404,
                                                                       802-805, 901-902, 1003
122        D11975         2019 8879-S Form.                            Relevance; Fed. Rules Evid. 403-404,
                                                                       802-805, 901-902, 1003
123        D11981         2019 1125-E Form.                            Relevance; Fed. Rules Evid. 403-404,
                                                                       802-805, 901-902, 1003
124        D11982         2018 1040 Form.                              Relevance; Fed. Rules Evid. 403-404,
                                                                       802-805, 901-902, 1003
125        D11984         2019 1040 Form.                              Relevance; Fed. Rules Evid. 403-404,
                                                                       802-805, 901-902, 1003

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Exhibit                                                                            Objection(s) by
              Bates No.                   Description
  No.                                                                                Defendants
126        D13052-13118   Plaintiff’s payroll records.                 Description of the exhibit does not
                                                                       accurately reflect the contents of the
                                                                       exhibit.

                                                                    Relevance re: Plaintiff’s payroll from
                                                                    before 2018 (D13058-D131099)
127        D014546        Email dated August 7, 2019.               Relevance; Fed. Rules Evid. 403-404,
                                                                    802-805, 901-902, 1003
128        D014867-68     Email dated January 28, 2021.             Relevance; Fed. Rules Evid. 403-404,
                                                                    802-805, 901-902, 1003
129        D014882        Medical records dated September 19, 2018. Fed. Rules Evid. 802-805, 901-902,
                                                                    1003
130        D014913-33     Medical records dated October 5, 2018.    Fed. Rules Evid. 802-805, 901-902,
                                                                    1003

                                                                       Description of the exhibit does not
                                                                       accurately reflect the contents of the
                                                                       exhibit.
131        N/A            Defendants’ Initial Disclosures.             Relevance; Fed. Rules Evid. 403-404,
                                                                       802-805, 901-902, 1003
132        N/A            Defendants’ Responses to Plaintiff’s First   Relevance; Fed. Rules Evid. 403-404,
                          Set of Interrogatories.                      802-805, 901-902, 1003
133        N/A            Defendants’ Responses to Plaintiff’s         Relevance; Fed. Rules Evid. 403-404,
                          Second Set of Interrogatories.               802-805, 901-902, 1003
134        N/A            Plaintiff’s Privilege Log.                   Relevance; Fed. Rules Evid. 403-404,
                                                                       802-805, 901-902, 1003; violates best
                                                                       evidence rule; incorrect
                                                                       representation; not instructive.
135        N/A            Affidavit of Irene Raskin.                   Description too vague to identify the
                                                                       proposed exhibit and the exhibit has not
                                                                       been provided. Defendants reserve their
                                                                       right to object once identified.
136        N/A            Prakhin v. Fulton Towers Realty Corp.,       Relevance; Fed. Rules Evid. 403-404,
                          990 N.Y.S.2d 439 (Sup. Ct. Kings Cty.        802-805, 901-902, 1003; improper
                          2014).                                       character evidence; incorrect
                                                                       representation; not instructive.
137        N/A            Bianco v. Law Offices of Yuriy Prakhin, et   Relevance; Fed. Rules Evid. 403-404,
                          al., No. 514493/2016 (Sup. Ct. Kings Cty.)   802-805, 901-902, 1003; improper
                          Summons and Complaint.                       character evidence; incorrect
                                                                       representation; not instructive.




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Exhibit                                                                           Objection(s) by
              Bates No.                  Description
  No.                                                                                Defendants
138        N/A            Bianco v. Law Offices of Yuriy Prakhin, et   Relevance; Fed. Rules Evid. 403-404,
                          al., No. 514493/2016 (Sup. Ct. Kings Cty.)   802-805, 901-902, 1003; improper
                          deposition transcript.                       character evidence; incorrect
                                                                       representation; not instructive.

                                                                       Description too vague to identify the
                                                                       proposed exhibit and the exhibit has not
                                                                       been provided. Defendants reserve their
                                                                       right to object once identified.
139        N/A            Grinberg v. Law Office of Yuriy Prakhin,     Relevance; Fed. Rules Evid. 403-404,
                          P.C., et al., No. 1:16-cv-03514-SJ-CLP       802-805, 901-902, 1003; improper
                          (E.D.N.Y.) Complaint.                        character evidence; incorrect
                                                                       representation; not instructive.
140        N/A            Law Office of Yuriy Prakhin, P.C. v.         Relevance; Fed. Rules Evid. 403-404,
                          Grinberg, No. No. 516842/2016 (Sup. Ct.      802-805, 901-902, 1003; improper
                          Kings Cty.) Summons and Complaint.           character evidence; incorrect
                                                                       representation; not instructive.
141        N/A            Prakhin, et al. v. JPMorgan Chase Bank,      Relevance; Fed. Rules Evid. 403-404,
                          NA, No. 523354/2019 (Sup. Ct. Kings          802-805, 901-902, 1003; improper
                          Cty.) Summons and Complaint.                 character evidence; incorrect
                                                                       representation; not instructive.
142        N/A            Testimonials page from Firm website.         Relevance; Fed. Rules Evid. 403-404,
                                                                       802-805, 901-902, 1003

                                                                       Description too vague to identify the
                                                                       proposed exhibit and the exhibit has not
                                                                       been provided. Defendants reserve their
                                                                       right to object once identified.
143        N/A            NYSBA Ethics Opinion No. 855.                Relevance; Fed. Rules Evid. 403-404,
                                                                       802-805, 901-902, 1003
144        N/A            NYCBA Formal Opinion No. 2003-02.            Relevance; Fed. Rules Evid. 403-404,
                                                                       802-805, 901-902, 1003




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             B.    Defendants’ Exhibits

Defendants’
                                 Description                                 Objection(s) by Plaintiff
Exhibit No.
     1      Demand Letter, dated March 4, 2019                          Relevance; Fed. R. Evid. 403; Fed.
                                                                        R. Evid. 408; Hearsay; Foundation
     2       Plaintiff’s EEOC Charge, filed on March 20, 2019           N/A
             (PLAINTIFF 000077-82)
     3       Plaintiff’s Right to Sue Letter, dated April 24, 2019      N/A
     4       Plaintiff’s Complaint filed on May 20, 2019 (ECF No. 1)    N/A
     5       Defendants’ Answer filed on July 15, 2019 (ECF No. 9)      N/A
     6       The Firm’s Employee Handbook signed by Plaintiff           Relevance; Foundation; Lack of
             (D11911-D11941)                                            Personal Knowledge; Lack of
                                                                        Authentication; Fed. R. Evid. 403
     7       The Firm’s Employee Handbook, updated version.             Relevance; Foundation; Lack of
                                                                        Personal Knowledge; Lack of
                                                                        Authentication; Fed. R. Evid. 403
     8       Instant Messages regarding the Firm’s Cell Phone Policy,   Relevance; Hearsay; Foundation;
             dated June 29, 2018 (D01951)                               Lack of Personal Knowledge; Lack
                                                                        of Authentication; Improper
                                                                        Opinions and Conclusions; Improper
                                                                        Character Evidence; Incomplete
                                                                        Exhibit; Fed. R. Evid. 403
     9       Email from Sandra Beron regarding SAGA notes, dated        Relevance; Hearsay; Foundation;
             September 11, 2018 (D07450)                                Lack of Personal Knowledge; Lack
                                                                        of Authentication; Fed. R. Evid. 403
    10       Email from Irene Gabo regarding SAGA instructions          Relevance; Hearsay; Foundation;
             (D10015)                                                   Lack of Personal Knowledge; Lack
                                                                        of Authentication; Fed. R. Evid. 403
    11       Plaintiff’s Resume (PLAINTIFF 000075-76, 1538-1539)        Relevance; Hearsay; Foundation;
                                                                        Lack of Personal Knowledge; Lack
                                                                        of Authentication; Fed. R. Evid. 403
    12       Subpoena Response from Mallilo & Grossman regarding        Relevance; Hearsay; Foundation;
             Plaintiff’s Employment (D014867)                           Lack of Personal Knowledge; Lack
                                                                        of Authentication; Improper
                                                                        Character Evidence; Fed. R. Evid.
                                                                        403
    13       Plaintiff’s Time Sheet from June 1, 2018 - December 31,    Relevance; Hearsay; Foundation;
             2019                                                       Lack of Personal Knowledge; Lack
                                                                        of Authentication; Fed. R. Evid. 403


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 14      Plaintiff’s Hours Summary Report from June 1, 2018 -        Relevance; Hearsay; Foundation;
         December 31, 2019                                           Lack of Personal Knowledge; Lack
                                                                     of Authentication; Fed. R. Evid. 403
 15      Plaintiff’s Payroll Records from June-December 2018         Foundation; Lack of Personal
         (D13052-D13057)                                             Knowledge; Lack of Authentication
 16      Record of Plaintiff’s Settlements (D11942)                  Relevance; Hearsay; Foundation;
                                                                     Lack of Personal Knowledge; Lack
                                                                     of Authentication; Fed. R. Evid. 403
 17      Record of Plaintiff’s Transportation Reimbursement          Relevance; Hearsay; Foundation;
         Requests and Reimbursement Check                            Lack of Personal Knowledge; Lack
                                                                     of Authentication; Fed. R. Evid. 403
 18      Documents showing cases assigned to Plaintiff from          Hearsay; Foundation; Lack of
         June-December 2018 (D00613-614, D01961, D01985-             Personal Knowledge; Lack of
         987, D02072-D02081, D03584, D03747, D03761,                 Authentication; Incomplete Exhibit;
         D03776-D03777, D03792, D03920, D04056, D04144,              Fed. R. Evid. 403
         D04678, D05761, D05763-D05764, D07426, D07455-
         D07456, D07465-D07466, D07476, D07525-D07526,
         D07531, D07539, D07551, D07586-D07587, D07599-
         D07600, D07633, D07761, D07838-D07840, D08333-
         D08334, D08663, D08830, D08863, D08932, D09484,
         D09537, D10053-D10056, D10079, D10082, D10286,
         D10399, D10455-D10456, D11102, D11021, D11500,
         D11515, and D11956-D11963)
 19      Internal Message from Irene Gabo, dated July 17, 2017       Relevance; Hearsay; Foundation;
         (D01953)                                                    Lack of Personal Knowledge; Lack
                                                                     of Authentication; Incomplete
                                                                     Exhibit; Fed. R. Evid. 403
 20      Emails regarding settlement of Plaintiff’s assigned cases   Relevance; Hearsay; Foundation;
         (D03613, D03802, D04281, D04589, D04667-D04670,             Lack of Personal Knowledge; Lack
         D04675, D04678, D05721, D05729, D05825, D07345,             of Authentication; Improper
         D07455-D07456, D07539, D07652-D07653, D07585,               Opinions and Conclusions;
         D07901, D08331-D08332, D08460-D08469, D08589-               Incomplete Exhibit; Fed. R. Evid.
         D08590, D08620-D08621, D08850, D09339-340,                  403
         D09358, D09479-D09481, D09528, D09531-D09533,
         D09537, D10090, D10288, D10292-D10293, and
         D10642-D10643)
 21      Documents showing that paralegals drafted motions for       Relevance; Hearsay; Foundation;
         Plaintiff (D01987, D10635, D06379-D06389)                   Lack of Personal Knowledge; Lack
                                                                     of Authentication; Improper
                                                                     Opinions and Conclusions;


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                                                                     Incomplete Exhibit; Fed. R. Evid.
                                                                     403
 22      Emails showing Plaintiff’s failure to respond or perform    Relevance; Hearsay; Foundation;
         work on assigned cases (D00557, D00684, D00817-             Lack of Personal Knowledge; Lack
         D00818, D01794, D02035, D03560-D0361, D03615,               of Authentication; Improper
         D03621, D03803-D03805, D03811, D03867-D0368,                Opinions and Conclusions;
         D05320-D05321, D05400, D05682, D05714, D05724,              Incomplete Exhibit; Fed. R. Evid.
         D07353, D08167, D08265, D08830, D08847, D08850,             403
         D08962-D08963, D08968-D08969, D09715, D09572-
         D09573, D09576-D09580, D11166, and D11549-
         D11553)
 23      Documents showing that other attorneys and employees at     Relevance; Hearsay; Foundation;
         the Firm performed work on cases assigned to Plaintiff      Lack of Personal Knowledge; Lack
         (D01794, D01811, D01815, D03544, D03576, D03763,            of Authentication; Improper
         D04998-D04999, D05324-D05349, D05469, D05492,               Opinions and Conclusions;
         D06296, D07364, D07856-D07877, D08531, D09436,              Incomplete Exhibit; Fed. R. Evid.
         D10244, D10631-D10632, and D10968)                          403
 24      Documents showing Plaintiff’s failure to enter SAGA         Relevance; Hearsay; Foundation;
         notes (D00028, D01874-D01878, D01885-D01893,                Lack of Personal Knowledge; Lack
         D01898-D01900, D01903-D01905, D01908-D01910,                of Authentication; Improper
         D01917, D01922-D01924, D01927-D01938, D01942-               Opinions and Conclusions;
         D01944, D02015-D02016, and D05679)                          Incomplete Exhibit; Fed. R. Evid.
                                                                     403
 25      Emails showing that paralegals engaged in                   Relevance; Hearsay; Foundation;
         communications with the Firm’s clients that were            Lack of Personal Knowledge; Lack
         assigned to Plaintiff (D03746, D03617, D03620, D03729,      of Authentication; Improper
         D03772, D04100, D08850, D08966-D08967, and                  Opinions and Conclusions;
         D09661)
                                                                     Incomplete Exhibit; Fed. R. Evid.
                                                                     403
 26      Plaintiff’s paralegal engaged in settlement negotiations    Relevance; Hearsay; Foundation;
         for Plaintiff’s cases (D03799)                              Lack of Personal Knowledge; Lack
                                                                     of Authentication; Improper
                                                                     Opinions and Conclusions;
                                                                     Incomplete Exhibit; Fed. R. Evid.
                                                                     403
 27      Plaintiff’s personal emails using the Firm-provided email   Relevance; Hearsay; Foundation;
         account (D00546, D11269-273, D11307, D11419-420,            Lack of Personal Knowledge; Lack
         D11423, D11431-D11432, and D11479-D11480)                   of Authentication; Fed. R. Evid. 403
 28      Emails showing Plaintiff’s parking tickets (D07878-         Relevance; Hearsay; Foundation;
         D07883, D08487-D08504)                                      Lack of Personal Knowledge; Lack


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                                                                  of Authentication; Incomplete
                                                                  Exhibit; Fed. R. Evid. 403
 29      Confidential Documents from the Firm retained by         Relevance; Hearsay; Foundation;
         Plaintiff (PLAINTIFF 000576-652)                         Lack of Personal Knowledge; Lack
                                                                  of Authentication; Incomplete
                                                                  Exhibit; Fed. R. Evid. 403
 30      Documents regarding the Firm’s clients and cases         Relevance; Hearsay; Foundation;
         retained by Plaintiff (PLAINTIFF 000083-87, 115-117,     Lack of Personal Knowledge; Lack
         121-126, 129-130, 136, 151-153, 156-157, 162-166, 168-   of Authentication; Improper
         169, 180-197, 209-211, 315-349, 352, 372-411, 426-470,   Opinions and Conclusions;
         491-519, 540, 546-547, 549-551, 559-679, 681, 684-700,   Incomplete Exhibit; Fed. R. Evid.
         702-703, 715-720, 1059-1093)                             403
 31      SAGA Notes entered by Plaintiff from June-December       Relevance; Hearsay; Foundation;
         2018 (D11582-D11595)                                     Lack of Personal Knowledge; Lack
                                                                  of Authentication; Incomplete
                                                                  Exhibit; Fed. R. Evid. 403
 32      SAGA Notes entered by Irene Gabo from June-December      Relevance; Hearsay; Foundation;
         2018 (D11622-D11707, D13289-D14079)                      Lack of Personal Knowledge; Lack
                                                                  of Authentication; Incomplete
                                                                  Exhibit; Fed. R. Evid. 403
 33      SAGA Notes entered by Sandra Beron from June-            Relevance; Hearsay; Foundation;
         December 2018 (D11790-D11827, D14386-D14534)             Lack of Personal Knowledge; Lack
                                                                  of Authentication; Incomplete
                                                                  Exhibit; Fed. R. Evid. 403
 34      SAGA Notes entered by Lilit Avetisyan from June-         Relevance; Hearsay; Foundation;
         December 2018 (D11708-D11769, D14080-D14385)             Lack of Personal Knowledge; Lack
                                                                  of Authentication; Incomplete
                                                                  Exhibit; Fed. R. Evid. 403
 35      SAGA Notes entered by Anna Broxmeyer from June-          Relevance; Hearsay; Foundation;
         December 2018 (D14534-D14671)                            Lack of Personal Knowledge; Lack
                                                                  of Authentication; Incomplete
                                                                  Exhibit; Fed. R. Evid. 403
 36      SAGA Notes entered by Gregory Nahas from June-           Relevance; Hearsay; Foundation;
         December 2018 (D11596-D11621, D14672-D14764)             Lack of Personal Knowledge; Lack
                                                                  of Authentication; Incomplete
                                                                  Exhibit; Fed. R. Evid. 403
 37      SAGA Notes entered by Nicholas Serlin from June-         Relevance; Hearsay; Foundation;
         December 2018 (D11770-D11789, D14765-D14848)             Lack of Personal Knowledge; Lack
                                                                  of Authentication; Incomplete
                                                                  Exhibit; Fed. R. Evid. 403


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 38      SAGA Notes entered by Stephen Revis from June-             Relevance; Hearsay; Foundation;
         December 2018 (D11828-D11831, D14849-D14866)               Lack of Personal Knowledge; Lack
                                                                    of Authentication; Incomplete
                                                                    Exhibit; Fed. R. Evid. 403
 39      Payroll Records of Sandra Beron from June-December         Relevance; Hearsay; Foundation;
         2018 (D13109-D13118)                                       Lack of Personal Knowledge; Lack
                                                                    of Authentication; Incomplete
                                                                    Exhibit; Fed. R. Evid. 403
 40      Payroll Records of Irene Gabo from June-December 2018      Relevance; Hearsay; Foundation;
         (D13100-D13107)                                            Lack of Personal Knowledge; Lack
                                                                    of Authentication; Incomplete
                                                                    Exhibit; Fed. R. Evid. 403
 41      Payroll Records of Gil Zohar from January-July 2019        Relevance; Hearsay; Foundation;
         (D13119-D13128)                                            Lack of Personal Knowledge; Lack
                                                                    of Authentication; Incomplete
                                                                    Exhibit; Fed. R. Evid. 403
 42      Summary Hours Reports from June 18, 2018-December          Relevance; Hearsay; Foundation;
         14, 2018 for other attorneys and paralegals assigned to    Lack of Personal Knowledge; Lack
         Plaintiff (D11832-D11838)                                  of Authentication; Incomplete
                                                                    Exhibit; Fed. R. Evid. 403
 43      Time Sheets from June 18, 2018-December 14, 2018 for       Relevance; Hearsay; Foundation;
         other attorneys and paralegals assigned to Plaintiff       Lack of Personal Knowledge; Lack
         (D11839-D11888)                                            of Authentication; Incomplete
                                                                    Exhibit; Fed. R. Evid. 403
 44      Summary Hours Report from January 1, 2019 - December       Relevance; Hearsay; Foundation;
         31, 2019 for Gil Zohar (D11889-D11890)                     Lack of Personal Knowledge; Lack
                                                                    of Authentication; Incomplete
                                                                    Exhibit; Fed. R. Evid. 403
 45      Time Sheets from January 1, 2019 - December 31, 2019       Relevance; Hearsay; Foundation;
         for Gil Zohar (D11891-D11902)                              Lack of Personal Knowledge; Lack
                                                                    of Authentication; Incomplete
                                                                    Exhibit; Fed. R. Evid. 403
 46      Affidavit of Natalia Generalova, sworn to on May 6, 2021   Relevance; Hearsay; Foundation;
                                                                    Lack of Personal Knowledge; Lack
                                                                    of Authentication; Improper
                                                                    Opinions and Conclusions; Improper
                                                                    Character Evidence; Fed. R. Evid.
                                                                    403
 47      Affidavit of Azfar Khan, sworn to on May 7, 2021           Relevance; Hearsay; Foundation;
                                                                    Lack of Personal Knowledge; Lack


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                                                                of Authentication; Improper
                                                                Opinions and Conclusions; Improper
                                                                Character Evidence; Fed. R. Evid.
                                                                403
 48      Affidavit of Vitaliy Lyutyk, sworn to on May 6, 2021   Relevance; Hearsay; Foundation;
                                                                Lack of Personal Knowledge; Lack
                                                                of Authentication; Improper
                                                                Opinions and Conclusions; Improper
                                                                Character Evidence; Fed. R. Evid.
                                                                403
 49      Affidavit of Laura Shvarts, sworn to on May 6, 2021    Relevance; Hearsay; Foundation;
                                                                Lack of Personal Knowledge; Lack
                                                                of Authentication; Improper
                                                                Opinions and Conclusions; Improper
                                                                Character Evidence; Fed. R. Evid.
                                                                403
 50      Audio Recording No. 384                                Relevance; Hearsay; Foundation;
                                                                Lack of Personal Knowledge; Lack
                                                                of Authentication; Improper
                                                                Opinions and Conclusions; Improper
                                                                Character Evidence; Fed. R. Evid.
                                                                403
 51      Certified Transcript of Audio Recording No. 384        Relevance; Hearsay; Foundation;
                                                                Lack of Personal Knowledge; Lack
                                                                of Authentication; Improper
                                                                Opinions and Conclusions; Improper
                                                                Character Evidence; Fed. R. Evid.
                                                                403
 52      Audio Recording No. 386                                Relevance; Hearsay; Foundation;
                                                                Lack of Personal Knowledge; Lack
                                                                of Authentication; Improper
                                                                Opinions and Conclusions; Improper
                                                                Character Evidence; Fed. R. Evid.
                                                                403
 53      Certified Transcript of Audio Recording No. 386        Relevance; Hearsay; Foundation;
                                                                Lack of Personal Knowledge; Lack
                                                                of Authentication; Improper
                                                                Opinions and Conclusions; Improper
                                                                Character Evidence; Fed. R. Evid.
                                                                403


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 54      Audio Recording No. 419                           Relevance; Hearsay; Foundation;
                                                           Lack of Personal Knowledge; Lack
                                                           of Authentication; Improper
                                                           Opinions and Conclusions; Improper
                                                           Character Evidence; Fed. R. Evid.
                                                           403
 55      Certified Transcript of Audio Recording No. 419   Relevance; Hearsay; Foundation;
                                                           Lack of Personal Knowledge; Lack
                                                           of Authentication; Improper
                                                           Opinions and Conclusions; Improper
                                                           Character Evidence; Fed. R. Evid.
                                                           403
 56      Audio Recording No. 482                           Relevance; Hearsay; Foundation;
                                                           Lack of Personal Knowledge; Lack
                                                           of Authentication; Improper
                                                           Opinions and Conclusions; Improper
                                                           Character Evidence; Fed. R. Evid.
                                                           403
 57      Certified Transcript of Audio Recording No. 482   Relevance; Hearsay; Foundation;
                                                           Lack of Personal Knowledge; Lack
                                                           of Authentication; Improper
                                                           Opinions and Conclusions; Improper
                                                           Character Evidence; Fed. R. Evid.
                                                           403
 58      Audio Recording No. 484                           Relevance; Hearsay; Foundation;
                                                           Lack of Personal Knowledge; Lack
                                                           of Authentication; Improper
                                                           Opinions and Conclusions; Improper
                                                           Character Evidence; Fed. R. Evid.
                                                           403
 59      Certified Transcript of Audio Recording No. 484   Relevance; Hearsay; Foundation;
                                                           Lack of Personal Knowledge; Lack
                                                           of Authentication; Improper
                                                           Opinions and Conclusions; Improper
                                                           Character Evidence; Fed. R. Evid.
                                                           403
 60      Audio Recording No. 538                           Relevance; Hearsay; Foundation;
                                                           Lack of Personal Knowledge; Lack
                                                           of Authentication; Improper
                                                           Opinions and Conclusions; Improper


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                                                           Character Evidence; Fed. R. Evid.
                                                           403
 61      Certified Transcript of Audio Recording No. 538   Relevance; Hearsay; Foundation;
                                                           Lack of Personal Knowledge; Lack
                                                           of Authentication; Improper
                                                           Opinions and Conclusions; Improper
                                                           Character Evidence; Fed. R. Evid.
                                                           403
 62      Audio Recording No. 571                           Relevance; Hearsay; Foundation;
                                                           Lack of Personal Knowledge; Lack
                                                           of Authentication; Improper
                                                           Opinions and Conclusions; Improper
                                                           Character Evidence; Fed. R. Evid.
                                                           403
 63      Certified Transcript of Audio Recording No. 571   Relevance; Hearsay; Foundation;
                                                           Lack of Personal Knowledge; Lack
                                                           of Authentication; Improper
                                                           Opinions and Conclusions; Improper
                                                           Character Evidence; Fed. R. Evid.
                                                           403
 64      Audio Recording No. 597                           Relevance; Hearsay; Foundation;
                                                           Lack of Personal Knowledge; Lack
                                                           of Authentication; Improper
                                                           Opinions and Conclusions; Improper
                                                           Character Evidence; Fed. R. Evid.
                                                           403
 65      Certified Transcript of Audio Recording No. 597   Relevance; Hearsay; Foundation;
                                                           Lack of Personal Knowledge; Lack
                                                           of Authentication; Improper
                                                           Opinions and Conclusions; Improper
                                                           Character Evidence; Fed. R. Evid.
                                                           403
 66      Audio Recording No. 656                           Relevance; Hearsay; Foundation;
                                                           Lack of Personal Knowledge; Lack
                                                           of Authentication; Improper
                                                           Opinions and Conclusions; Improper
                                                           Character Evidence; Fed. R. Evid.
                                                           403
 67      Certified Transcript of Audio Recording No. 656   Relevance; Hearsay; Foundation;
                                                           Lack of Personal Knowledge; Lack


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                                                                  of Authentication; Improper
                                                                  Opinions and Conclusions; Improper
                                                                  Character Evidence; Fed. R. Evid.
                                                                  403
 68      Deposition Transcripts showing Plaintiff’s Appearances   Relevance; Hearsay; Foundation;
         from June-December 2018 (D01870-D01871, D01874-          Lack of Personal Knowledge; Lack
         D01875, D01877-D01880, D01882-D01883, D01885-            of Authentication; Incomplete
         D01886, D1888-D01889, D01891-D01892, D01894-             Exhibit; Fed. R. Evid. 403
         D01899, D01901-D01904, D01906-D01909, D01911-
         D01916, D01918-D01923, D01925-D01928, D01930-
         D01931, D01933-D01934, D01936-D01937, D01939-
         D01940, D01942-D01943, D01945-D01946)
 69      The Firm’s calendar documents from September 26, 2018    Relevance; Hearsay; Foundation;
         (D012415-D012419)                                        Lack of Personal Knowledge; Lack
                                                                  of Authentication; Incomplete
                                                                  Exhibit; Fed. R. Evid. 403
 70      The Firm’s calendar documents from September 27, 2018    Relevance; Hearsay; Foundation;
         (D012407-D012414)                                        Lack of Personal Knowledge; Lack
                                                                  of Authentication; Incomplete
                                                                  Exhibit; Fed. R. Evid. 403
 71      The Firm’s calendar documents from October 4, 2018       Relevance; Hearsay; Foundation;
         (D012721-D012724)                                        Lack of Personal Knowledge; Lack
                                                                  of Authentication; Incomplete
                                                                  Exhibit; Fed. R. Evid. 403
 72      The Firm’s calendar documents from October 5, 2018       Relevance; Hearsay; Foundation;
         (D012716-D012720)                                        Lack of Personal Knowledge; Lack
                                                                  of Authentication; Incomplete
                                                                  Exhibit; Fed. R. Evid. 403
 73      The Firm’s calendar documents from October 8, 2018       Relevance; Hearsay; Foundation;
         (D012712-D012715)                                        Lack of Personal Knowledge; Lack
                                                                  of Authentication; Incomplete
                                                                  Exhibit; Fed. R. Evid. 403
 74      The Firm’s calendar documents from October 9, 2018       Relevance; Hearsay; Foundation;
         (D012704-D012711)                                        Lack of Personal Knowledge; Lack
                                                                  of Authentication; Incomplete
                                                                  Exhibit; Fed. R. Evid. 403
 75      The Firm’s calendar documents from October 10, 2018      Relevance; Hearsay; Foundation;
         (D012698-D012702)                                        Lack of Personal Knowledge; Lack
                                                                  of Authentication; Incomplete
                                                                  Exhibit; Fed. R. Evid. 403


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 76      The Firm’s calendar documents from October 11, 2018    Relevance; Hearsay; Foundation;
         (D012693-D012697)                                      Lack of Personal Knowledge; Lack
                                                                of Authentication; Incomplete
                                                                Exhibit; Fed. R. Evid. 403
 77      The Firm’s calendar documents from October 12, 2018    Relevance; Hearsay; Foundation;
         (D012686-D012692)                                      Lack of Personal Knowledge; Lack
                                                                of Authentication; Incomplete
                                                                Exhibit; Fed. R. Evid. 403
 78      The Firm’s calendar documents from October 15, 2018    Relevance; Hearsay; Foundation;
         (D012675-D012685)                                      Lack of Personal Knowledge; Lack
                                                                of Authentication; Incomplete
                                                                Exhibit; Fed. R. Evid. 403
 79      The Firm’s calendar documents from October 16, 2018    Relevance; Hearsay; Foundation;
         (D012667-D012674)                                      Lack of Personal Knowledge; Lack
                                                                of Authentication; Incomplete
                                                                Exhibit; Fed. R. Evid. 403
 80      The Firm’s calendar documents from October 18, 2018    Relevance; Hearsay; Foundation;
         (D012651-D012657)                                      Lack of Personal Knowledge; Lack
                                                                of Authentication; Incomplete
                                                                Exhibit; Fed. R. Evid. 403
 81      The Firm’s calendar documents from October 19, 2018    Relevance; Hearsay; Foundation;
         (D012644-D012650)                                      Lack of Personal Knowledge; Lack
                                                                of Authentication; Incomplete
                                                                Exhibit; Fed. R. Evid. 403
 82      The Firm’s calendar documents from November 5, 2018    Relevance; Hearsay; Foundation;
         (D012909-D012914)                                      Lack of Personal Knowledge; Lack
                                                                of Authentication; Incomplete
                                                                Exhibit; Fed. R. Evid. 403
 83      The Firm’s calendar documents from November 9, 2018    Relevance; Hearsay; Foundation;
         (D012869-D012877)                                      Lack of Personal Knowledge; Lack
                                                                of Authentication; Incomplete
                                                                Exhibit; Fed. R. Evid. 403
 84      The Firm’s calendar documents from November 15, 2018   Relevance; Hearsay; Foundation;
         (D012832-D012839)                                      Lack of Personal Knowledge; Lack
                                                                of Authentication; Incomplete
                                                                Exhibit; Fed. R. Evid. 403
 85      The Firm’s calendar documents from November 16, 2018   Relevance; Hearsay; Foundation;
         (D012826-D012831)                                      Lack of Personal Knowledge; Lack
                                                                of Authentication; Incomplete
                                                                Exhibit; Fed. R. Evid. 403


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 86      The Firm’s calendar documents from November 19, 2018   Relevance; Hearsay; Foundation;
         (D012816-D012825)                                      Lack of Personal Knowledge; Lack
                                                                of Authentication; Incomplete
                                                                Exhibit; Fed. R. Evid. 403
 87      The Firm’s calendar documents from November 20, 2018   Relevance; Hearsay; Foundation;
         (D012806-D012815)                                      Lack of Personal Knowledge; Lack
                                                                of Authentication; Incomplete
                                                                Exhibit; Fed. R. Evid. 403
 88      The Firm’s calendar documents from November 21, 2018   Relevance; Hearsay; Foundation;
         (D012799-D012805)                                      Lack of Personal Knowledge; Lack
                                                                of Authentication; Incomplete
                                                                Exhibit; Fed. R. Evid. 403
 89      The Firm’s calendar documents from November 26, 2018   Relevance; Hearsay; Foundation;
         (D012792-D012798)                                      Lack of Personal Knowledge; Lack
                                                                of Authentication; Incomplete
                                                                Exhibit; Fed. R. Evid. 403
 90      The Firm’s calendar documents from November 27, 2018   Relevance; Hearsay; Foundation;
         (D012780-D012791)                                      Lack of Personal Knowledge; Lack
                                                                of Authentication; Incomplete
                                                                Exhibit; Fed. R. Evid. 403
 91      The Firm’s calendar documents from November 30, 2018   Relevance; Hearsay; Foundation;
         (D012751-D012757)                                      Lack of Personal Knowledge; Lack
                                                                of Authentication; Incomplete
                                                                Exhibit; Fed. R. Evid. 403
 92      The Firm’s calendar documents showing Plaintiff’s      Relevance; Hearsay; Foundation;
         appearances at depositions from June-December 2018     Lack of Personal Knowledge; Lack
         (D012003, D012008, D011993, D012001, D012207,          of Authentication; Incomplete
         D012213, D012192, D012203, D012185, D012139,           Exhibit; Fed. R. Evid. 403
         D12140, D12107, D012115, D12130, D012133,
         D012390, D012396, D012380, D012384, D012366,
         D012371, D012357, D012336, D012340, D012295,
         D012300, D012253, D012256, D012244, D012247,
         D012532, D012539, D012499, D012477, D012481,
         D012442, D012447, D012424, D012658, D012666,
         D012635, D012642, D012602, D012606, D012921,
         D012929, D012896, D012899, D012863, D012865,
         D012758, D012767, D013039, D013044, D013023,
         D012984, D012989)
 93      Email from Plaintiff regarding return to work, dated   Relevance; Hearsay; Foundation;
         October 15, 2018 (D01679, PLAINTIFF 000675)            Lack of Personal Knowledge; Lack


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                                                                    of Authentication; Incomplete
                                                                    Exhibit; Fed. R. Evid. 403
 94      Email regarding Plaintiff’s work while absent (D01619)     Relevance; Hearsay; Foundation;
                                                                    Lack of Personal Knowledge; Lack
                                                                    of Authentication; Improper
                                                                    Opinions and Conclusions;
                                                                    Incomplete Exhibit; Fed. R. Evid.
                                                                    403
 95      Documents showing Gil Zohar’s employment with the          Relevance; Hearsay; Foundation;
         Firm in August and September 2018 (D10027, D012667, Lack of Personal Knowledge; Lack
         D012716-718, D012780-783, D012807)                         of Authentication; Improper
                                                                    Opinions and Conclusions;
                                                                    Incomplete Exhibit; Fed. R. Evid.
                                                                    403
 96      Email confirming termination date of Gregory Nahas         Relevance; Hearsay; Foundation;
         (D01866-D01867)                                            Lack of Personal Knowledge; Lack
                                                                    of Authentication; Improper
                                                                    Opinions and Conclusions;
                                                                    Incomplete Exhibit; Fed. R. Evid.
                                                                    403
 97      The Firm’s ZipRecruiter Invoices (D13129-D13134)           Relevance; Hearsay; Foundation;
                                                                    Lack of Personal Knowledge; Lack
                                                                    of Authentication; Incomplete
                                                                    Exhibit; Fed. R. Evid. 403
 98      Plaintiff’s Certification, dated May 18, 2020              Relevance; Hearsay; Foundation;
                                                                    Incomplete Exhibit; Fed. R. Evid.
                                                                    403
 99      Internal Message from Erica Larssen to Plaintiff regarding Relevance; Hearsay; Foundation;
         JAWS, dated November 28, 2018 (D01982, D02070-             Lack of Personal Knowledge; Lack
         D02071)                                                    of Authentication; Incomplete
                                                                    Exhibit; Fed. R. Evid. 403
 100     Invoices from IT Plus Solutions (D11949-D11952)            Relevance; Hearsay; Foundation;
                                                                    Lack of Personal Knowledge; Lack
                                                                    of Authentication; Incomplete
                                                                    Exhibit; Fed. R. Evid. 403
 101     Defendants’ First Set of Interrogatories, dated November   Relevance; Hearsay; Foundation;
         5, 2019                                                    Lack of Personal Knowledge; Lack
                                                                    of Authentication; Fed. R. Evid. 403




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 102     Plaintiff’s Responses to Defendants’ First Set of            Relevance; Hearsay; Foundation;
         Interrogatories, dated January 10, 2020                      Lack of Personal Knowledge; Lack
                                                                      of Authentication; Fed. R. Evid. 403
 103     Defendants’ First Request for the Production of              Relevance; Hearsay; Foundation;
         Documents, dated November 5, 2019                            Lack of Personal Knowledge; Lack
                                                                      of Authentication; Fed. R. Evid. 403
 104     Plaintiff’s Responses to Defendants’ First Request for the   Relevance; Hearsay; Foundation;
         Production of Documents, dated January 10, 2020              Lack of Personal Knowledge; Lack
                                                                      of Authentication; Fed. R. Evid. 403
 105     Defendants’ Second Request for the Production of             Relevance; Hearsay; Foundation;
         Documents, dated August 3, 2020                              Lack of Personal Knowledge; Lack
                                                                      of Authentication; Fed. R. Evid. 403
 106     Plaintiff’s Responses to Defendants’ Second Request for      Relevance; Hearsay; Foundation;
         the Production of Documents, dated September 23, 2020        Lack of Personal Knowledge; Lack
                                                                      of Authentication; Fed. R. Evid. 403
 107     Defendants’ Third Request for the Production of              Relevance; Hearsay; Foundation;
         Documents, dated December 1, 2020                            Lack of Personal Knowledge; Lack
                                                                      of Authentication; Fed. R. Evid. 403
 108     Plaintiff’s Responses to Defendants’ Third Request for       Relevance; Hearsay; Foundation;
         the Production of Documents, dated January 8, 2021           Lack of Personal Knowledge; Lack
                                                                      of Authentication; Fed. R. Evid. 403
 109     Defendants’ Fourth Request for the Production of             Relevance; Hearsay; Foundation;
         Documents, dated December 29, 2020                           Lack of Personal Knowledge; Lack
                                                                      of Authentication; Fed. R. Evid. 403
 110     Plaintiff’s Responses to Defendants’ Fourth Request for      Relevance; Hearsay; Foundation;
         the Production of Documents, dated January 29, 2021          Lack of Personal Knowledge; Lack
                                                                      of Authentication; Fed. R. Evid. 403
 112     Subpoena on T-Mobile and Response                            Relevance; Hearsay; Foundation;
                                                                      Lack of Personal Knowledge; Lack
                                                                      of Authentication; Incomplete
                                                                      Exhibit; Fed. R. Evid. 403
 113     Declaration of Innessa M. Huot, dated March 8, 2021          Relevance; Hearsay; Foundation;
                                                                      Lack of Personal Knowledge; Lack
                                                                      of Authentication; Fed. R. Evid. 403
 114     Declaration of Yelena Ruderman, dated July 6, 2021           Foundation; Lack of Authentication;
                                                                      Fed. R. Evid. 403
 115     Plaintiff’s Memorandum of Law in Opposition to               Relevance; Hearsay; Foundation;
         Defendants’ Motion for Summary Judgment (ECF No.             Lack of Personal Knowledge; Lack
         90)                                                          of Authentication; Fed. R. Evid. 403



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 116     Plaintiff’s Invoices (PLAINTIFF 1-14, 723-761, 1094-    Relevance; Hearsay; Foundation;
         1095, 1260-1297, 1306-1307, 1490, 1494, 1499, 1507,     Lack of Personal Knowledge; Lack
         1510, 1515, 1523, 1525, 1536, 1541, 1547, 1550, 1551,   of Authentication; Incomplete
         1580, 1594, 1599, 1611, 1619, 1623, 1627, 1632, 1644,   Exhibit; Fed. R. Evid. 403
         1649, 1665, 1674-1736, 1743, 1746-1747, 1749-1750,
         1753-1756, 1759-1761, 1768-1769, 1776, 1779, 1783,
         1786-1787, 1794-1795, 1831, 1834, 1847, 1849-1852,
         1857, 1866-1867, 1870-1871, 1873, 1876, 1879, 1881,
         1891-1892, 1901, 1903-1904, 1917)
 117     Plaintiff’s Forms 1099-Misc and Form 1099-NEC           Relevance; Hearsay; Foundation;
         (PLAINTIFF 1048-1052, 1300-1301, 1303-1305, 1796,       Lack of Personal Knowledge; Lack
         1878; D11944)                                           of Authentication; Incomplete
                                                                 Exhibit; Fed. R. Evid. 403
 118     2019 Payment for Referral (PLAINTIFF 721-722;           Relevance; Hearsay; Foundation;
         D11943-D11944)                                          Lack of Personal Knowledge; Lack
                                                                 of Authentication; Incomplete
                                                                 Exhibit; Fed. R. Evid. 403
 119     Summary Chart of Plaintiff’s Earnings since her 2018    Hearsay; Foundation; Lack of
         employment with the Firm                                Authentication; Incomplete Exhibit;
                                                                 Fed. R. Evid. 403; Best Evidence
                                                                 Rule; Incorrect Representation; Not
                                                                 Instructed.

                                                                 Plaintiff has not been provided this
                                                                 exhibit. As such, Plaintiff reserves
                                                                 all rights, including, without
                                                                 limitation, the right to assert further
                                                                 objections after review of the
                                                                 exhibit.
 120     Medical Records from Dr. Anna Shostak (PLAINTIFF        Relevance; Hearsay; Foundation;
         000033-42)                                              Lack of Personal Knowledge; Lack
                                                                 of Authentication; Incomplete
                                                                 Exhibit; Fed. R. Evid. 403
 121     Medical Records from NYU Langone Eye Center             Relevance; Hearsay; Foundation;
         (D014891, D014899, D014905, D014915, D014917,           Lack of Personal Knowledge; Lack
         D014924)                                                of Authentication; Incomplete
                                                                 Exhibit; Fed. R. Evid. 403
 122     Medical Records from Dr. Julia Giyaur (D014882)         Relevance; Hearsay; Foundation;
                                                                 Lack of Personal Knowledge; Lack



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                                                                     of Authentication; Incomplete
                                                                     Exhibit; Fed. R. Evid. 403
 123     Affidavit of Nicole E. Price, dated May 11, 2021            Relevance; Hearsay; Foundation;
         regarding chain of custody of audio recordings              Lack of Personal Knowledge; Lack
                                                                     of Authentication; Fed. R. Evid. 403
 124     Email exchange between Plaintiff and Irene Gabo, dated      Relevance; Foundation; Lack of
         August 2, 2018 (D10784)                                     Personal Knowledge; Lack of
                                                                     Authentication; Improper Character
                                                                     Evidence; Fed. R. Evid. 403
 125     American Bar Association, Formal Opinion 489 (2019)         Relevance; Foundation; Lack of
                                                                     Authentication; Fed. R. Evid. 403
 126     NYSBA NY Rules of Professional Conduct (2021)               Relevance; Foundation; Lack of
                                                                     Authentication; Fed. R. Evid. 403
 127     Summary Chart of Plaintiff’s absences, medical              Hearsay; Foundation; Lack of
         appointments, and appearances at court/depositions          Authentication; Incomplete Exhibit;
         during her 2018 employment with the Firm                    Fed. R. Evid. 403; Best Evidence
                                                                     Rule; Incorrect Representation; Not
                                                                     Instructed.

                                                                     Plaintiff has not been provided this
                                                                     exhibit. As such, Plaintiff reserves
                                                                     all rights, including, without
                                                                     limitation, the right to assert further
                                                                     objections after review of the
                                                                     exhibit.
 N/A     Enlarged versions of the exhibits of any Party.             Relevance; Hearsay; Foundation;
                                                                     Lack of Authentication; Incomplete
                                                                     Exhibit; Fed. R. Evid. 403; Best
                                                                     Evidence Rule; Incorrect
                                                                     Representation; Not Instructed.

                                                                     Plaintiff has not been provided this
                                                                     exhibit. As such, Plaintiff reserves
                                                                     all rights, including, without
                                                                     limitation, the right to assert further
                                                                     objections after review of the
                                                                     exhibit.
 N/A     Enlarged excerpts of the deposition or trial testimony of   Relevance; Hearsay; Foundation;
         any witness.                                                Lack of Authentication; Incomplete
                                                                     Exhibit; Fed. R. Evid. 403; Best


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                                                                       Evidence Rule; Incorrect
                                                                       Representation; Not Instructed.

                                                                       Plaintiff has not been provided this
                                                                       exhibit. As such, Plaintiff reserves
                                                                       all rights, including, without
                                                                       limitation, the right to assert further
                                                                       objections after review of the
                                                                       exhibit.
 N/A     Electronic highlighting and/or cropping and/or “pop-outs”     Relevance; Hearsay; Foundation;
         of the exhibits of any Party.                                 Lack of Authentication; Incomplete
                                                                       Exhibit; Fed. R. Evid. 403; Best
                                                                       Evidence Rule; Incorrect
                                                                       Representation; Not Instructed.

                                                                       Plaintiff has not been provided this
                                                                       exhibit. As such, Plaintiff reserves
                                                                       all rights, including, without
                                                                       limitation, the right to assert further
                                                                       objections after review of the
                                                                       exhibit.
 N/A     Electronic highlighting and/or cropping and/or “pop-outs”     Relevance; Hearsay; Foundation;
         of the deposition or trial testimony of any witness.          Lack of Authentication; Incomplete
                                                                       Exhibit; Fed. R. Evid. 403; Best
                                                                       Evidence Rule; Incorrect
                                                                       Representation; Not Instructed.

                                                                       Plaintiff has not been provided this
                                                                       exhibit. As such, Plaintiff reserves
                                                                       all rights, including, without
                                                                       limitation, the right to assert further
                                                                       objections after review of the
                                                                       exhibit.
 N/A     Compilations of information contained within the exhibits     Relevance; Hearsay; Foundation;
         of any party, including, but not limited to, lists, charts,   Lack of Authentication; Incomplete
         graphs, tables, timelines, PowerPoint presentations, slide    Exhibit; Fed. R. Evid. 403; Best
         shows or any other form of presenting such information.       Evidence Rule; Incorrect
                                                                       Representation; Not Instructed.




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                                                                          Plaintiff has not been provided this
                                                                          exhibit. As such, Plaintiff reserves
                                                                          all rights, including, without
                                                                          limitation, the right to assert further
                                                                          objections after review of the
                                                                          exhibit.
 N/A     Compilations of the deposition or trial testimony of any         Relevance; Hearsay; Foundation;
         witness, including, but not limited to, lists, charts, graphs,   Lack of Authentication; Incomplete
         tables, timelines, PowerPoint presentations, slideshows or       Exhibit; Fed. R. Evid. 403; Best
         any other form of presenting such information.                   Evidence Rule; Incorrect
                                                                          Representation; Not Instructed.

                                                                          Plaintiff has not been provided this
                                                                          exhibit. As such, Plaintiff reserves
                                                                          all rights, including, without
                                                                          limitation, the right to assert further
                                                                          objections after review of the
                                                                          exhibit.




         *** Remainder of page intentionally left blank. Signatures on following page. ***




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   Dated: May 27, 2022
          New York, New York

           FARUQI & FARUQI, LLP                         BOND SCHOENECK & KING, PLLC


           /s/ Innessa M. Huot                          /s/ Mary Ellen Donnelly
           Innessa M. Huot                              Mary Ellen Donnelly
           Alex J. Hartzband                            Louis DiLorenzo
           Camilo M. Burr                               Nicole E. Price

           685 Third Avenue, 26th Floor                 600 Third Avenue, 22nd Floor
           New York, NY 10017                           New York, New York 10016
           Tel: (212) 983-9330                          Tel: 646-253-2300
           Fax: (212) 983-9331                          Fax: 646-253-2301
           ihuot@faruqilaw.com                          mdonnelly@bsk.com
           ahartzband@faruqilaw.com                     dilorel@bsk.com
           cburr@faruqilaw.com                          nprice@bsk.com

           Attorneys for Plaintiffs                     Attorneys for Defendants


          Service of a copy of this Order shall be made by the Clerk of the Court by forwarding a

   copy hereof to all parties.


   SO ORDERED:




   RAYMOND J. DEARIE
   United States District Court Judge



   DATED:
                  Brooklyn, New York




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